Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 1 of 90 PageID #: 10242




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

 CMC MATERIALS, INC.,                    )
                                         )    Redacted - Public Version
                        Plaintiff,       )
                                         )    C.A. No. 20-738-JLH
        v.                               )
                                         )
 DUPONT DE NEMOURS, INC., et al.,        )
                                         )
                        Defendants.      )


                           JOINT CLAIM CONSTRUCTION BRIEF

                                             John W. Shaw (No. 3362)
 OF COUNSEL:                                 Karen E. Keller (No. 4489)
 Robert L. Maier                             Andrew E. Russell (No. 5382)
 Margaret M. Welsh                           Nathan R. Hoeschen (No. 6232)
 Frank Zhu                                   SHAW KELLER LLP
 David K. Bailey                             I.M. Pei Building
 BAKER BOTTS L.L.P.                          1105 North Market Street, 12th Floor
 30 Rockefeller Plaza                        Wilmington, DE 19801
 New York, NY 10112                          (302) 298-0700
 (212) 408 2500                              jshaw@shawkeller.com
                                             kkeller@shawkeller.com
 Lisa M. Kattan                              arussell@shawkeller.com
 Katharine M. Burke                          nhoeschen@shawkeller.com
 Thomas C. Martin                            Attorneys for Plaintiff
 Erik T. Koons
 Christopher Wilson
 Samuel L. Kassa
 Eileen Hyde
 Natalie Cardenas
 Daniel Ruesta
 BAKER BOTTS L.L.P.
 700 K Street, N.W.
 Washington, D.C. 20001
 (202) 639-7700

 Dated: January 19, 2024
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 2 of 90 PageID #: 10243




                                                        TABLE OF CONTENTS


I.         Introduction ............................................................................................................................. 1
      A.        Defendants’ Answering Introduction .................................................................................. 1
           1. DuPont’s proposed constructions are true to the intrinsic evidence and supported by the
           extrinsic evidence.................................................................................................................... 1
           2.      Person Of Ordinary Skill in The Art ............................................................................... 2
      B.        CMC’s Reply Introduction ................................................................................................. 3
      C.        Defendants’ Sur-Reply Introduction ................................................................................... 3
II.        Agreed-Upon Constructions ................................................................................................... 5
III. Disputed Constructions ........................................................................................................... 6
      A.        TERM 1: “outer surface” (Claims 1, 26) ............................................................................ 6
           1.      CMC’s Opening Position ................................................................................................ 6
           2.      Defendants’ Answering Position .................................................................................... 8
           3.      CMC’s Reply Position .................................................................................................. 11
           4.      Defendants’ Sur-Reply Position ................................................................................... 13
      B.        TERM 2 (Claim 1) ............................................................................................................ 15
           1.      CMC’s Opening Position .............................................................................................. 15
           2.      Defendants’ Answering Position .................................................................................. 21
           3.      CMC’s Reply Position .................................................................................................. 26
           4.      Defendants’ Sur-Reply Position ................................................................................... 31
      C.        TERM 3 (Claims 1, 26): ................................................................................................... 34
           1.      CMC’s Opening Position .............................................................................................. 34
           2.      Defendants’ Answering Position .................................................................................. 42
           3.      CMC’s Reply Position .................................................................................................. 57
           4.      Defendants’ Sur-Reply Position ................................................................................... 68
      D.        TERM 4 (Claim 26): ......................................................................................................... 75
           1.      CMC’s Opening Position .............................................................................................. 75
           2.      Defendants’ Answering Position .................................................................................. 76
           3.      CMC’s Reply Position .................................................................................................. 76
           4.      Defendants’ Sur-Reply Position ................................................................................... 76
      E.        TERM 5 (Claim 26): ......................................................................................................... 77
           1.      CMC’s Opening Position .............................................................................................. 77
           2.      Defendants’ Answering Position .................................................................................. 78

                                                                            i
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 3 of 90 PageID #: 10244




      3.     CMC’s Reply Position .................................................................................................. 78
      4.     Defendants’ Sur-Reply Position ................................................................................... 78

                                             TABLE OF AUTHORITIES

                                                                                                                            Page(s)
CASES

3M Innovative Properties Co. v. Avery Dennison Corp.,
   350 F.3d 1365 (Fed. Cir. 2003)................................................................................................59

AbbVie Inc. v. Mathilda & Terence Kennedy Inst. Of Rheumatology Tr.,
   764 F.3d 1366 (Fed. Cir. 2014)................................................................................................50

ABS Glob., Inc. v. Cytonome/St, LLC,
   84 F.4th 1034 (Fed. Cir. 2023) ................................................................................................21

Alere, Inc. v. Rembrandt Diagnostics, LP,
   791 Fed. App’x 173 (Fed. Cir. 2019)...............................................................45, 62, 63, 70, 71

August Tech. Corp. v. Camtek, Ltd.,
   655 F.3d 1278 (Fed. Cir. 2011)..........................................................................................25, 30

Baldwin Graphic Sys., Inc. v. Siebert, Inc.,
   512 F.3d 1338 (Fed. Cir. 2008)................................................................................................62

Baxter Diagnostics Inc. v. PB Diagnostic Sys., Inc.,
   57 F.3d 1082, 1995 WL 253177 (Fed. Cir. 1995) ...................................................................23

Bio-Technology General Corp. v. Genentech, Inc.,
   80 F.3d 1553 (Fed. Cir. 1996)....................................................................................................2

Biovail Corp. Int'l v. Andrx Pharms., Inc.,
   239 F.3d 1297 (Fed. Cir. 2001)................................................................................................48

Bombardier Recreational Prods. Inc. v. Arctic Cat Inc.,
   785 F. App’x 858 (Fed. Cir. 2019) ..........................................................................................42

Braintree Labs., Inc. v. Novel Labs., Inc.,
   749 F.3d 1349 (Fed. Cir. 2014)....................................................................................36, 57, 58

Chamberlain Grp., Inc. v. Lear Corp.,
   516 F.3d 1331 (Fed. Cir. 2008)..................................................................................................9

CollegeNet, Inc. v. ApplyYourself, Inc.,
   418 F.3d 1225 (Fed. Cir. 2005)................................................................................................29



                                                                  ii
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 4 of 90 PageID #: 10245




Cont’l Circuits LLC v. Intel Corp.,
   915 F.3d 788 (Fed. Cir.)...........................................................................................................28

Credle v. Bond,
   25 F.3d 1566 (Fed. Cir. 1994)............................................................................................47, 71

Crystal Semiconductor Corp. v. TriTech Microelectronics Int’l, Inc.,
   246 F.3d 1336 (Fed. Cir. 2001)....................................................................................20, 24, 63

Daiichi Sankyo Co., Ltd. v. Apotex, Inc.,
   501 F.3d 1254 (Fed. Cir. 2007)..................................................................................................3

Dippin’ Dots, Inc. v. Mosey,
   476 F.3d 1337 (Fed. Cir. 2007)....................................................................................24, 29, 30

DSW, Inc. v. Shoe Pavilion, Inc.,
  537 F.3d 1342 (Fed. Cir. 2008)............................................................................................8, 12

E–Pass Techs., Inc. v. 3Com Corp.,
   343 F.3d 1364 (Fed. Cir. 2003)................................................................................................64

Ecolab, Inc. v. Envirochem, Inc.,
   264 F.3d 1358 (Fed. Cir. 2001)......................................................................................8, 13, 39

Exxon Chem. Patents, Inc. v. Lubrizol Corp.,
   64 F.3d 1553 (Fed. Cir. 1995)............................................................................................62, 71

Fenner Investments, Ltd. v. Cellco P’ship,
   778 F.3d 1320 (Fed. Cir. 2015)..........................................................................................22, 48

Fin Control Sytems Pty, Ltd. v. OAM, Inc.,
   265 F.3d 1311 (Fed. Cir. 2001)................................................................................................75

GE Lighting Sols., LLC v. AgiLight, Inc.,
   750 F.3d 1304 (Fed. Cir. 2014)....................................................................................40, 52, 65

Gentex Corp. v. Donnelly Corp.,
   69 F.3d 527 (Fed. Cir. 1995)....................................................................................................54

Gentry Gallery, Inc. v. Berkline Corp.,
   134 F.3d 1473 (Fed. Cir. 1998)................................................................................................72

Golight, Inc. v. Wal-Mart Stores, Inc.,
   355 F.3d 1327 (Fed. Cir. 2004)................................................................................................64

Halliburton Energy Servs., Inc. v. M-I LLC,
   514 F.3d 1244 (Fed. Cir. 2008)..........................................................................................42, 73



                                                                  iii
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 5 of 90 PageID #: 10246




Harris Corp. v. IXYS Corp.,
   114 F.3d 1149 (Fed. Cir. 1997)................................................................................................55

HSM Portfolio LLC v. Fujitsu Ltd.,
  No. CV 11-770-RGA, 2014 WL 2754734 (D. Del. June 17, 2014) ........................................42

Hyperphrase Techs., LLC v. Google, Inc.,
   260 Fed. App’x 274 (Fed. Cir. 2007).......................................................................................45

In re Kubin,
    561 F.3d 1351 (Fed. Cir. 2009)................................................................................................72

Innovative Memory Systems, Inc. v. Micron Technology, Inc.,
   781 Fed. App’x 1013 (Fed. Cir. 2019).........................................................................21, 26, 31

Intel Corp. v. Qualcomm Inc.,
    21 F.4th 784 (Fed. Cir. 2021) ..................................................................................................21

Jeneric/Pentron, Inc. v. Dillon Co., Inc.,
   205 F.3d 1377 (Fed. Cir. 2000)..........................................................................................24, 30

K-2 Corp. v. Salomon S.A.,
   191 F.3d 1356 (Fed. Cir. 1999)..........................................................................................45, 62

Kaken Pharm. Co. v. Iancu,
   952 F.3d 1346 (Fed. Cir. 2020)....................................................................................23, 46, 70

KEYnetik, Inc. v. Samsung Elecs. Co.,
  837 F. App’x 786 (Fed. Cir. 2020) ..........................................................................................51

Kinik Co. v. Int’l Trade Comm’n,
   362 F.3d 1359 (Fed. Cir. 2004)................................................................................................17

Kruse Technology Partnership v. Volkswagen AG,
   544 Fed. App’x 943 (Fed. Cir. 2013)...........................................................................21, 26, 31

MBO Lab’ys, Inc. v. Becton, Dickinson & Co.,
  474 F.3d 1323 (Fed. Cir. 2007)................................................................................................65

Medrad, Inc. v. MRI Devices Corp.,
  401 F.3d 1313 (Fed. Cir. 2005)................................................................................................46

Microsoft Corp. v. Multi–Tech Sys., Inc.,
   357 F.3d 1340 (Fed. Cir. 2004)................................................................................................32

Mosaic Brands, Inc. v. Ridge Wallet LLC,
  55 F.4th 1354 (Fed. Cir. 2022) ................................................................................................68



                                                                 iv
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 6 of 90 PageID #: 10247




NCR Corp. v. Documotion Rsch., Inc.,
  C.A. No. 14-395-GMS, 2015 WL 6697251 (D. Del. Nov. 3, 2015) .......................................20

Nite Glow Idus., Inc. v. Central Garden & Pet Co.,
    2020-1897, 2020-1983, 2021 WL 2945556 (Fed. Cir. Jul. 14, 2012) .....................................49

O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,
   521 F.3d 1351 (Fed. Cir. 2008)............................................................................6, 8, 11, 57, 78

Outside the Box Innovations, LLC v. Travel Caddy, Inc.,
   695 F.3d 1285 (Fed. Cir. 2012)..........................................................................................24, 30

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)............................................7, 13, 17, 38, 43, 58, 59, 60, 62, 66

Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,
   904 F.3d 965 (Fed. Cir. 2018)..................................................................................................68

Renishaw PLC v. Marposs Societa’,
   158 F.3d 1243 (Fed. Cir. 1998)................................................................................................37

Retractable Techs., Inc. v. Becton, Dickinson & Co.,
   653 F.3d 1296 (Fed. Cir. 2011)................................................................................................17

Rexnord Corp. v. Laitram Corp.,
   274 F.3d 1336 (Fed. Cir. 2001)..........................................................................................48, 51

Sage Prods., Inc. v. Devon Indus., Inc.,
   126 F.3d 1420 (Fed. Cir. 1997)................................................................................................49

Schriber-Schroth Co. v. Cleveland Tr. Co.,
   311 U.S. 211 (1940) .................................................................................................................49

Sciele Pharma Inc. v. Lupin Ltd.,
    C.A. No. 09-0037-RBK/JS, 2011 WL 4351672 (D. Del. Sept. 15, 2011) ...........................6, 77

Siemens Mobility, Inc. v. Iancu,
   825 F. App’x 867 (Fed. Cir. 2020) ..........................................................................................27

Silicon Graphics, Inc. v. ATI Techs., Inc.,
    607 F.3d at 789-91, .........................................................................................27, 31, 44, 58, 68

Spectrum Int’l., Inc. v. Sterilite Corp.,
   164 F.3d 1372 (Fed. Cir. 1998)....................................................................................23, 29, 51

Tech. Patents LLC v. T-Mobile (UK) Ltd.,
   700 F.3d 482 (Fed. Cir. 2012)............................................................................................51, 71



                                                                    v
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 7 of 90 PageID #: 10248




Texas Instruments Inc. v. U.S. Intern. Trade Commn.,
   988 F.2d 1165 (Fed. Cir. 1993)................................................................................................46

Thorner v. Sony Computer Entm’t Am. LLC,
   669 F.3d 1362 (Fed. Cir. 2012)....................................................................................28, 29, 65

TIP Sys., LLC v. Phillips & Brooks/Gladwin, Inc.,
   529 F.3d 1364 (Fed. Cir. 2008)................................................................................................52

Trs. of Columbia Univ. in New York v. Symantec Corp.,
    811 F.3d 1359 (Fed. Cir. 2016)................................................................................................72

U. of Massachusetts v. L’Oreal S.A.,
    36 F.4th 1374 (Fed. Cir. 2022) ................................................................................................33

Vederi, LLC v. Google, Inc.,
   744 F.3d 1376 (Fed. Cir. 2014)................................................................................................61

Vivid Tech., Inc. v. American Sci. & Eng’g, Inc.,
    200 F.3d 795 (Fed. Cir. 1999)..................................................................................6, 19, 24, 77

Wi-LAN USA, Inc. v. Apple Inc.,
   830 F.3d 1374 (Fed. Cir. 2016)................................................................................................49

Wi-Lan, Inc. v. Apple, Inc.,
   811 F.3d 455 (Fed. Cir. 2016)....................................................................................................9

Woods v. DeAngelo Marine Exhaust, Inc.,
  692 F.3d 1272 (Fed. Cir. 2012)............................................................................................8, 13

STATUTES

35 U.S.C. § 102 (b)(2)(C) ..............................................................................................................28




                                                                   vi
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 8 of 90 PageID #: 10249




                                   TABLE OF ABBREVIATIONS

       The following identified abbreviations are used throughout this brief:

                  Word or Phrase                                   Abbreviation
           Plaintiff CMC Materials, Inc.                          CMC or Plaintiff
   Defendants DuPont de Nemours, Inc., Rohm
     and Haas Electronic Materials CMP LLC
       (formerly known as Rohm and Haas
    Electronic Materials CMP Inc.), Rohm and
     Haas Electronic Materials CMP Asia Inc.
   (d/b/a Rohm and Haas Electronic Materials                   DuPont or Defendants
    CMP Asia Inc., Taiwan Branch (U.S.A.)),
    Rohm and Haas Electronic Materials Asia-
   Pacific Co., Ltd., Rohm and Haas Electronic
          Materials K.K., and Rohm and
          Haas Electronic Materials LLC

      D.I. 207 (Joint Claim Construction Chart)                        JCCC




             U.S. Patent No. 9,499,721                   ’721 Patent, the Asserted Patent or
                                                                     the Patent
    Claims 1, 14, 17, 20, 26, 27, 31, 36, 37, and 42
                 of the ’721 Patent                               Asserted Claims


     Defendants’ Optiplane 2300 family which                     Accused Products
     includes at least Optiplane 2300 (original),
    Optiplane 2300A (a.k.a., OP2300 CIP1) and
   components thereof, and DuPont’s Optiplane
   2600 family which includes at least Optiplane
       2600, Optiplane 2601, Optiplane 2602,
   Optiplane 2300 (current), as well as products
      with identifiers T-D2200 and T-D206 and
                 components thereof
      Chemical mechanical planarization (also                           CMP
   referred to as chemical mechanical polishing)

                                                   vii
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 9 of 90 PageID #: 10250




                Word or Phrase                         Abbreviation
       Person of Ordinary Skill in the Art                POSA

         International Trade Commission                     ITC

           Administrative Law Judge                        ALJ

   Certain Chemical Mechanical Planarization         1204 Investigation
    Slurries and Components Thereof, Inv. No.
                   337-TA-1204
   Initial Determination by the ALJ, adopted as             ID
    the Final Determination by the ITC for the
                1204 Investigation
             Permanent positive charge                     PPC


     Exhibit Number and page range in Joint               Ex._JA
                  Appendix
    United States Patent and Trademark Office             USPTO


                  Zeta potential                            ZP


   Added emphasis, unless otherwise indicated           Bold italic




                                              viii
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 10 of 90 PageID #: 10251




 I.        INTRODUCTION

           A.     Defendants’ Answering Introduction

                  1. DuPont’s proposed constructions are true to the intrinsic evidence and
                     supported by the extrinsic evidence.

           The ’721 patent contains two independent claims. The first, claim 1, read in light of the

 specification and as distinguished during prosecution, recites a composition containing water at an

 acidic pH and “colloidal silica” particles that have inside them nitrogen- or phosphorous-

 containing chemical compounds (“chemical species”) without any “aminosilanes” or

 “phosphonium silanes” compounds such that the particles have a “permanent positive charge”

 (“PPC”) of at least 15 mV.” Since the claim provides no other possible source for the PPC, the

 only reasonable reading (endorsed by the specification) is that the PPC results from the internally

 incorporated “chemical species.” This is reflected in DuPont’s Term 3 construction.

           Inconsistent with the specification and prosecution history and contrary to the named

 inventor’s so-called “aha” moment, Plaintiff’s Term 3 construction would allow the PPC to result

 entirely from unrecited, external sources, relegating the internal chemical species to trace amount.

 This would also read directly on prior art particles that had been

                             but not disclosed during prosecution. Similarly inconsistent with the

 specification and prosecution history, Plaintiff’s construction of Term 2 places “no restrictions on

 other chemical species” that could be incorporated within the particles. Plaintiff would even

 include “aminosilane” and “phosphonium silane” chemical species expressly excluded by the

 limitation that “the chemical species is not an aminosilane or a phosphonium silane.” 1 Rather

 than support its arguments with intrinsic evidence, Plaintiff misdirects, relying heavily on the

 administrative ITC proceeding for this and other arguments. But “as CMC concedes, this Court is


 1
     All bold italic emphasis in Defendants’ sections is added, unless otherwise indicated.
                                                    1
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 11 of 90 PageID #: 10252




 not bound by the ITC’s holdings.” D.I. 210 at 12; see also Bio-Technology General Corp. v.

 Genentech, Inc., 80 F.3d 1553, 1564 (Fed. Cir. 1996) (“[T]he ITC’s prior decision cannot have

 claim preclusive effect in the district court.”).

           Claim 26, the other independent claim, follows the same structure as claim 1 but lowers

 the minimum PPC to 13 mV and adds the requirement of an exterior coating of aminosilane bonded

 on the surface of the particle. 2 The patent’s Detailed Description makes clear that in the claim 26

 embodiments, the lower positive charge is of “the particles prior to the surface treatment.”

 JCCC_Ex. A-1, 7:56-64. This is also clear from the parallelism in the language of claims 1 and 26.

 Here too, Plaintiff evades the claim language and specification to argue that the required minimum

 positive charge need not come from the claimed internal chemical species.

           Terms 1 and 5 relate to what should be straightforward claim language—an “outer

 surface”—defining an external boundary of the particle, distinct from its internal volume. Creating

 a dispute requiring resolution, Plaintiff, however, misreads the terms to convert chemical species

 located within a particle’s interior volumes into chemical species bonded to its outer surface.

                  2. Person Of Ordinary Skill in The Art

           The claims and specification relate to the use of colloidal silica particles in chemical-

 mechanical compositions (i.e., slurries). See e.g., JCCC_Ex. A-1, 1:54-58, 2:15-36. Accordingly,

 a person of ordinary skill in the art (“POSA”) for the ’721 patent should be defined as:

                  A POSA in the field of the ’721 patent in the 2014 to 2015 time frame
                  would have been someone with an advanced degree involving materials
                  science, chemistry, applied physics, mechanical engineering, or the like,
                  and at least two years of experience designing, developing, or
                  researching in the field of CMP slurries and/or colloid science.
                  Alternatively, that person would have had a bachelor’s degree involving
                  materials science, chemistry, applied physics, mechanical engineering,


 2
      As reflected in Term 4, claim 26 also does not exclude internal aminosilane and phosphonium
     silane chemical species. Cf. Term 2.
                                                     2
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 12 of 90 PageID #: 10253




                  or the like, and at least three years of experience designing, developing,
                  or researching in the field of CMP slurries and/or colloid science.

           This definition is consistent with, inter alia, the background of the named inventors (e.g.,

 Ex.8_JA0469, QA6, (Ph.D. in chemistry), Ex.9_JA0483, QA6, (Ph.D. in chemistry)) and the prior

 art. See Daiichi Sankyo Co., Ltd. v. Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007).

           B.     CMC’s Reply Introduction 3

           DuPont repeatedly replaces the patentees’ chosen language with its own. In Terms 1 and

 5, DuPont rewrites the straightforward term “outer surface” to include twenty-four words and

 unclaimed functional requirements. In Term 2, DuPont rewrites “wherein the chemical species is

 not” to be “the chemical species colloidal silica abrasive particles…do not.” And in Term 3,

 DuPont rewrites “the colloidal silica abrasive particles have a permanent positive charge of at least

 [15 or 13] mV” in two ways—(1) ignoring patentees’ lexicography for PPC and (2) adding a phrase

 (“that results from the chemical species incorporated in the colloidal silica abrasive particles”) that

 appears nowhere in the intrinsic record. DuPont’s unsupported constructions should be rejected.

           C.     Defendants’ Sur-Reply Introduction

           The patent and prosecution history describe the alleged invention as moving charge inside

 by “forming the colloidal silica abrasive particles having a positive charge by incorporating a

 chemical species internal to the outer surface thereof.” JCCC_Ex.A-2_pg.95; JCCC_Ex.A-1, 5:3-26.

 The common structure of claims 1 and 26 confirms that these internal chemical species are the only

 possible source of the minimum threshold PPC claimed. Rather than “replac[ing] the patentees’ chosen

 language with its own” (§I.B), DuPont’s constructions effectuate the intrinsic record, identifying the

 functional source of the threshold PPC in Term 3 and giving meaning to the colloidal silica particles



 3
     DuPont’s Answer included an Introduction, contrary to the Scheduling Order’s requirements.
     D.I. 93 ¶ 9. CMC responds here.
                                                    3
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 13 of 90 PageID #: 10254




 structures in Terms 1, 2, 4, and 5. Contradictorily, Plaintiff seeks to broaden its claims to encompass

 non-functional amounts of internal nitrogen species and what it knew to be (but withheld from the

 USPTO) pre-existing “                                                           ” Ex.28_JA1117-18.




                                                   4
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 14 of 90 PageID #: 10255




 II.      AGREED-UPON CONSTRUCTIONS

       Claim(s)     Claim Term/Phrase                         Proposed Claim Construction

  1, 26           “A chemical mechanical       Not limiting
                  polishing composition
                  comprising”

  1, 26           “about”                      “approximately”

  1, 26           “colloidal silica abrasive   “colloidal silica abrasive particles that are prepared via a
                  particles”                   wet process rather than a pyrogenic or flame hydrolysis
                                               process which produces structurally different particles”

  1, 26           “aminosilane”                “A compound having amine and silane functional
                                               groups”

   1              “phosphonium silane”         “A compound having phosphonium and
                                               silane functional groups”




                                                   5
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 15 of 90 PageID #: 10256




 III.     DISPUTED CONSTRUCTIONS 4

          A. TERM 1: “outer surface” (Claims 1, 26)

        CMC’s Construction                               DuPont’s Construction
        No construction needed. See Terms 2 and 4,       “the external silica surface of the colloidal
        which incorporate these words.                   silica abrasive particle available for
                                                         surface treatment and/or abrasive contact
        Alternatively, plain and ordinary meaning.       with a substrate to be polished”

                  1. CMC’s Opening Position

          The parties dispute: (1) whether “outer surface” should be construed; and (2) if construed,

 its correct construction.

          First, “outer surface” need not be separately construed because no controversy is resolved

 by its interpretation. Vivid Tech., Inc. v. American Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir.

 1999) (“[O]nly those terms need be construed that are in controversy, and only to the extent

 necessary to resolve the controversy.”); O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521

 F.3d 1351, 1362 (Fed. Cir. 2008); Sciele Pharma Inc. v. Lupin Ltd., C.A. No. 09-0037-RBK/JS,

 2011 WL 4351672, at *10 (D. Del. Sept. 15, 2011) (declining to construe terms where party

 “gesture[d] to no live controversy that would require their construction”).

          This is the ’721 Patent’s second claim construction. 5 At the ITC, DuPont did not propose to

 construe “outer surface.” Rather, DuPont said the “plain language” of “outer surface” was sufficient.

 Ex.5_JA0452 (DuPont’s ITC Briefing) (“Claim 1, by its plain language, calls for colloidal silica




 4
   DuPont disputes CMC’s definition of a POSA. Ex.40_JA1445 (Validity Contentions). But the
 Court need not resolve this issue now, as none of the claim construction disputes depend on this
 definition.
 5
   The ITC’s ’721 Patent claim construction applied the same Federal Circuit case law as at issue
   here; it is attached at Joint Appendix (“JA”), Ex.1_JA0001-0336. DuPont did not appeal the ITC’s
   claim constructions to the Federal Circuit despite de novo review standard.
                                                     6
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 16 of 90 PageID #: 10257




 particles with a nitrogen or phosphorus containing compound internal to their outer surface....”). 6

 “Outer surface” did not need separate construction then, nor does it need one now.

          Here, DuPont’s final non-infringement and invalidity contentions do not identify (and

 therefore waive) any dispute hinging on the meaning of “outer surface.” Even when CMC

 contended that the Accused Products include particles having “a chemical species incorporated ...

 internal to an outer surface thereof” under either parties’ construction,

                                                                                    Ex.3_JA0359–68,

 JA0384–92 (Infringement Contentions); Ex.4_JA0412–20, JA0431–39 (Non-Infringement

 Contentions). Similarly, DuPont’s definition of “outer surface” is not relevant to validity—

 DuPont identified the “outer surface” for its anticipation, obviousness, and Section 112 contentions

 without using the definition it now advocates. See, e.g., Ex.2_JA0341 (Invalidity Contentions)

 (alleging “nitrogen containing compounds” “internal to an outer surface” without further

 explanation).

          Second, if construed, “outer surface” should be given its plain and ordinary meaning. The

 term “involves little more than the application of the widely accepted meaning of commonly

 understood words.” Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (internal citations

 omitted). “Outer surface” is not defined in the ’721 Patent, and the inventors did not alter its scope

 by disclaimer or disavowal. Rather, the plain meaning of “outer surface” is used throughout the ’721

 Patent. E.g., JCCC_Ex. A-1 (’721 Patent) at 14:55–62 (describing compound “internal to an outer

 surface of the particles”); 18:23–27 (“[A]minosilane compound is bonded with less than 4% of

 silanol groups on the outer surface of the colloidal silica particles.”). The ’721 Patent’s use of the

 term is also consistent with contemporaneous dictionaries. Phillips, 415 F.3d at 1314; Ex.6_JA0460;



 6
     Emphasis added unless otherwise noted.
                                                   7
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 17 of 90 PageID #: 10258




 Ex.7_JA0465 (defining “outer” as “being away from a center” and “further from the centre,”

 respectively) and Ex.6_JA0461; Ex.7_JA0466 (defining “surface” as “the exterior ...of an object or

 body” and “the outside part ...of something,” respectively) (Dictionaries). As there is no

 “contravening evidence” departing from the common meaning of this term, the “plain and

 unambiguous claim language controls the construction analysis.” DSW, Inc. v. Shoe Pavilion, Inc.,

 537 F.3d 1342, 1347 (Fed. Cir. 2008).

        By contrast, DuPont’s construction will confuse the jury. At twenty-four words long, it

 packs in two alternative functional clauses—“available for surface treatment” and/or “available

 for ... abrasive contact.” These functional clauses are not used anywhere in the ’721 Patent, let

 alone to define “outer surface,” and are improper to read into the claim. See Ecolab, Inc. v.

 Envirochem, Inc., 264 F.3d 1358, 1367 (Fed. Cir. 2001) (“Where the function is not recited in the

 claim itself by the patentee, we do not import such a limitation.”); Woods v. DeAngelo Marine

 Exhaust, Inc., 692 F.3d 1272, 1284 (Fed. Cir. 2012) (affirming refusal to read requirement into

 claim term to perform a function described in the specification).

                2. Defendants’ Answering Position

        DuPont proposes construing “outer surface” as meaning:

                The external silica surface of the colloidal silica abrasive particle
                available for surface treatment and/or abrasive contact with a substrate
                to be polished.

 Plaintiff does not substantively dispute this construction, other than to argue that “[a]t twenty-four

 words long” it “will confuse the jury” and that the term need not be construed. §III.A.1_pg.8. Its

 proposal—an undefined “plain and ordinary meaning” (§III.A.1_pgs.6-7)—is no construction at

 all and insufficient to resolve the parties’ disputes. O2 Micro Int'l Ltd. v. Beyond Innovation Tech.

 Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008) (noting “‘plain and ordinary meaning’ may be

 inadequate when…[it] does not resolve the parties’ dispute”).

                                                   8
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 18 of 90 PageID #: 10259




        Plaintiff wrongly alleges that there is no need to construe the term “outer surface” because

 no controversy is resolved by its interpretation and DuPont has waived any arguments relating

 thereto. The need for an appropriate construction arises, for instance, from Plaintiff’s use of the

 term “outer surface” to include an interior particle volume distinct from its external surface. For

 example, characterizing Example 13 as having aminosilane “bonded with the outer surface” and

 as a working example of claim 1, Plaintiff conflates compounds located within the volume of an

 “outer shell” and compounds located on an “outer surface” as both being “bonded with the outer

 surface.” §III.E.1_pg.77; CMC Final Validity Contentions §IX.D.1., 436, 442, 445-448.

 Inconsistent with Plaintiff’s usage of “outer surface,” Example 13 expressly describes growing an

 “outer silica shell containing the aminosilane,” not compounds bonded with the particle’s “outer

 surface.” JCCC_Ex. A-1, 30:17-54; see also id., 29:46-51.

        As for DuPont’s construction, it is supported by the “words of the claim.” Wi-Lan, Inc. v.

 Apple, Inc., 811 F.3d 455, 462 (Fed. Cir. 2016). The term “outer surface” appears once in claim 1

 and twice in claim 26. It is used in the limitation “a chemical species incorporated in the colloidal

 silica abrasive particles internal to an outer surface thereof” in both claims and further used in the

 claim 26 limitation “an aminosilane compound is bonded with the outer surface of the colloidal

 silica abrasive particles.” Claim 37 adds that “the aminosilane compound is bonded with less than

 4% of the silanol groups on the outer surface of the colloidal silica particles.” In all claimed

 contexts, the “outer surface” delineates the particle’s external boundary, e.g., the colloidal silica

 abrasive particle’s surface in contact with an external liquid carrier, substrate to be polished, or

 aminosilane to be bonded, distinguished from the particle’s interior volume. See Chamberlain

 Grp., Inc. v. Lear Corp., 516 F.3d 1331, 1338-39 (Fed. Cir. 2008) (rejecting construction of the




                                                   9
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 19 of 90 PageID #: 10260




 “binary code” that would encompass “trinary code” where “[t]he patent claims and

 specification...do not permit these two terms to overlap”).

        Like the claim language, the specification distinguishes “treating an external surface” from

 the “incorporating the chemical species sub-surface in the interior of the particles,” i.e., within the

 volume of the particle. JCCC_Ex. A-1, 5:3-26. It states that the former may involve “mask (or

 shield) the particle surface (e.g., the silanol and/or siloxane groups on the surface) such that the

 abrasive may not always have some of the same desirable properties as an untreated silica

 abrasive.” Id. The specification further distinguishes internal “positively charged chemical

 species” and “further bonding (via surface treating)... to the particle surface.” Id., 7:33-37.

        DuPont’s construction—“the external silica surface of the colloidal silica abrasive particle

 available for surface treatment and/or abrasive contact with a substrate to be polished”—also aligns

 with the use of colloidal silica particles in a CMP slurry, where chemical and physical interactions

 with the particle’s external surface are used to abrade and planarize semiconductor wafers. Ex. 13,

 JA0548-549, QAs 18-21; Ex. 14, JA0594-0596, QAs 73-79.

        Directly refuting Plaintiff’s usage of an unconstrued “outer surface,” the specification

 unambiguously describes the “shell” as an “outer layer” having a thickness that can incorporate

 chemical species within its volume internal, distinct from chemical species being “bonded to the

 outer surface.” JCCC_Ex. A-1, 6:37-53; see also id., 17:25-29 (“An eighteenth embodiment...

 wherein the colloidal silica abrasive particles have a core-shell structure in which an outer shell is

 disposed over an inner core, the chemical species being incorporated in the outer shell.”). The

 difference between a particle “shell,” which has volume, and its “outer surface” is



                           internally incorporated within the thickness of the shell:



                                                   10
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 20 of 90 PageID #: 10261




 Plaintiff argues that “DuPont’s construction will confuse the jury.” §III.A.1_pg.8. What would

 truly confuse a jury, however, would be Plaintiff relying on an unconstrued “ordinary meaning”

 to argue that being bonded to its “outer surface” includes species located within the interior volume

 of a particle’s shell. See, e.g., JCCC_Ex. A-1, 29:46-51, 30:33-37. As such, DuPont’s proposed

 construction is not only appropriate, but also necessary to avoid jury confusion.

                 3. CMC’s Reply Position

        DuPont’s Answer confirms that “outer surface” requires no construction apart from its

 plain and ordinary meaning. First, DuPont argues that construction is necessary but still does not

 identify any actual issue of infringement, invalidity, or otherwise resolved by its construction. O2

 Micro, 521 F.3d at 1362. DuPont instead raises two unrelated questions: (i) how to distinguish

 “chemical species within [a shell’s] volume internal” from “chemical species being ‘bonded to the

 outer surface’” (§III.A.2_pgs.10-11); and (ii) whether Example 13 discloses aminosilane “bonded

 with the outer surface” (§III.A.2_pg.9). But construing “outer surface” is not required even for

 these issues.

        Regarding issue (i), there is no claim construction dispute. DuPont alleges that CMC

 “conflates compounds located within the volume of an ‘outer shell’ and compounds located on an

                                                  11
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 21 of 90 PageID #: 10262




 ‘outer surface’ as both being bonded with the outer surface.” §III.A.2_pg.9. That is not CMC’s

 position. §III.A.1_pgs.6-8, §III.E.1_pg.77. Rather, CMC has consistently distinguished species

 located internal to the surface from those at the surface. Ex.36_JA1338-39 (CMC 1204 PreHB)



                                                            ) (citing JCCC_Ex.A-1 at 5:21-41 and

 Ex.13_JA0564 (CMC’s ITC Expert Testimony)); see also §III.B.1.a_pgs.16-17; JCCC_Ex.A-1

 (Patent) at 30:17-54 (Example 13’s core shell structure has aminosilane throughout the shell layer,

 including internal to the outer surface and bonded with the outer surface of the particles);

 Ex.37_JA1355 (same). If DuPont now agrees, 7 no dispute remains.

           Issue (ii) does not depend on the construction of “outer surface” either. Example 13

 discloses aminosilane bonded with the “outer surface” even under DuPont’s construction because

 the surface aminosilane is bonded to “the external silica surface…available for surface treatment.”

 §III.A.2_pg.10 (citing JCCC_Ex.A-1, 5:3-26); §III.A.1_pgs.6-8. Specifically, in Example 13,

 aminosilane bonds to available silanol groups on the external silica surface, and those silanol

 groups are available for surface treatment. Ex.37_JA1355 (CMC’s ITC Expert Testimony);

 Ex.39_JA1377 (CMC Presentation). DuPont does not provide any explanation of “available for

 surface treatment” that would exclude this structure.

           Second, even if construction of “outer surface” were necessary to resolve a dispute, DuPont

 provides no justification for deviating from the term’s plain meaning to add DuPont’s new

 functional language. DSW, 537 F.3d at 1347 (plain language controls absent “contravening

 evidence”). DuPont asserts its proposal “is supported by the words of the claim,” but the functional



 7
     DuPont, not CMC, previously conflated “internal to an outer surface” with “at” the outer surface.
     Ex.38_JA1367 (DuPont 1204 PreHB) (arguing “that species at…the particle surface are
     considered to be internal”) (quotations omitted).
                                                   12
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 22 of 90 PageID #: 10263




 language DuPont seeks to add is undeniably not in the claim. §III.A.2_pg.9. DuPont does not

 contend a POSA would have understood “outer surface” (a structure) to be defined functionally at

 all, much less using the functions that DuPont proposes. Phillips, 415 F.3d at 1313 (“[T]he

 ordinary and customary meaning of a claim term is the meaning that the term would have to a

 [POSA].”).

        DuPont also argues its proposal is consistent with the specification’s description of

 “treating an external surface” and with exemplary “use[s] of colloidal silica particles in a CMP

 slurry.” §III.A.2_pg.10. However, even if true, the Federal Circuit has repeatedly warned against

 importing examples into a claim. Ecolab, 264 F.3d at 1367 (“Where the function is not recited in

 the claim…we do not import such a limitation.”); Woods, 692 F.3d at 1284. Here, “the ordinary

 meaning of [“outer surface”] involves little more than the application of the widely accepted

 meaning of commonly understood words.” Phillips, 415 F.3d at 1314. Construction beyond the

 plain and ordinary meaning is not required.

                4. Defendants’ Sur-Reply Position

        Plaintiff agrees “outer surface” should be given its plain and ordinary meaning yet evades

 articulating that meaning. §III.A.1; §III.A.3. Its argument that no construction is necessary is

 belied by the term’s use in all but one disputed term. Plaintiff’s continued characterization of

 Example 13 as an “aminosilane bond[ed] to available silanol groups on the external silica

 surface” (§III.A.3_pgs.11-12) where the example instead references “colloidal silica particles

 having an outer silica shell containing the aminosilane” (JCCC_Ex.A-1, 30:17-54) highlights the

 parties’ disagreement over and the need to construe “outer surface.”

        Plaintiff’s argument that DuPont “deviate[es] from the term’s plain meaning”

 (§III.A.3_pg.12) is particularly meritless as Plaintiff fails to identify any “plain meaning.” Rather

 than adding “deviating” functional language (id.), DuPont’s construction puts to words exactly
                                                  13
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 23 of 90 PageID #: 10264




 what the specification describes and is consistent with claims 1, 26, and 37 (Plaintiff does not

 address claim 37). See §III.A.2_pgs.8-9. Indeed, Plaintiff does not dispute “available for surface

 treatment and/or abrasive contact with a substrate to be polished” reflects the function and purpose

 of the alleged invention to “alternatively... incorporat[e] certain positively charged chemical

 species into the abrasive particles” to avoid “the use of a surface treating agent [that] may mask

 (or shield) the particle surface….” JCCC_Ex. A-1, 5:3-26.

        The Court should adopt DuPont’s construction, especially given Plaintiff’s failure to offer

 any alternative.




                                                 14
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 24 of 90 PageID #: 10265




         B.      TERM 2 (Claim 1)




                 1. CMC’s Opening Position

         Term 2 relates to a core concept of the ’721 Patent—a fundamentally different and innovative

 chemical mechanical planarization (CMP) slurry used for polishing wafers in advanced

 semiconductor processing. Before the ’721 Patent, traditional dielectric slurries required a high

 concentration of negatively charged particles and high pH—which achieved fast planarization and

 high removal rates, but at high cost and with unwanted scratching of semiconductor wafers. For years,

 the industry tried to solve these problems by adding positive charge to the outer surface of the particles

 and using low pH, without success. Ex.8_JA0472–74 (Inventor ITC Testimony); Ex.9_JA0483–84

 (Inventor ITC Testimony); Ex.10_JA0503–06 (CMC President ITC Testimony).

         Only after years of failure did the ’721 Patent inventors conceive of a breakthrough

 solution—                                                           Ex.8_JA0473–74 (Inventor ITC

 Testimony); Ex.9_JA0484 (Inventor ITC Testimony). By integrating particles with an internal

 chemical species in a slurry composition having a certain level of permanent positive charge, the

 ’721 Patent inventors achieved faster removal rates without scratching and with lower

 concentrations of abrasive particles, leading to lower cost. Ex.9_JA0492–93 (Inventor ITC

 Testimony); Ex.8_JA0473–74, JA0477 (Inventor ITC Testimony); Ex.10_JA0506 (CMC

 President ITC Testimony). As DuPont admits, CMC’s D922x products, which practice the ’721

 Patent, were                                                 Ex.11_JA0524 (DuPont ITC Deposition

 Testimony); see also Ex.12_JA0536 (DuPont ITC Deposition Testimony).


                                                    15
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 25 of 90 PageID #: 10266




           CMC addresses Terms 2a, 2b, and 2c separately in the same way that both parties construed

 the terms at the ITC. DuPont’s new “as a whole” approach distracts from the parties’ disputes and

 leads to inconsistent or duplicative constructions.

                               a. Subpart [2a]:




      CMC’s Construction                                      DuPont’s Construction 8
      “The recited chemical species is incorporated           “the colloidal silica abrasive particles
      sub-surface in the interior of the colloidal            contain within their outer surfaces one or
      silica abrasive particles”                              more nitrogen and phosphorous containing
                                                              compounds but do not contain an
      Note: In addition, a portion of the recited             aminosilane or phosphonium silane within
      chemical species may also be at or near the             their outer surfaces”
      particle surface (such that the chemical
      species is both internal to and at the surface).        NOTE: Defendants propose a construction
                                                              of the claim phrase as a whole.
      The claim may further include additional,
      unrecited chemical species outside the
      scope of this limitation. 9

            The parties dispute whether “incorporated...internal to an outer surface thereof” should

     be construed as described in the specification, as CMC proposes, or should be rewritten to

     omit the concept of “internal” entirely and to change “outer surface” to “outer surfaces,” as

     DuPont suggests.

            CMC’s construction mirrors the specification, which explains that: (1) being internal

     to the outer surface of particles refers to “incorporating the chemical species sub-surface in




 8
   CMC bolded portions of DuPont’s construction for Terms 2a-2c to align the parties’ positions.
   The bolding was not included in DuPont’s construction. JCCC_Ex. A at 3.
 9
   This portion specifically applies to Term 2c and CMC addresses it there. CMC repeats it here
   only for completeness in view of DuPont’s request to combine Terms 2a-2c into a single
   construction.
                                                         16
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 26 of 90 PageID #: 10267




  the interior of the particles” and (2) the internal incorporation of the chemical species does

  not preclude chemical species from also being at or near the surface of the particle:

                One aspect of the invention is the realization that positively charged
                colloidal silica abrasive particles may alternatively be obtained via
                incorporating certain positively charged chemical species into the
                abrasive particles (i.e., incorporating the chemical species sub-surface
                in the interior of the particles). .... While the chemical species is
                incorporated internally in the colloidal silica abrasive particles, it will
                be understood that a portion of the chemical species may be at or near
                the particle surface (such that the chemical species is both internal to the
                surface and at the surface).

 JCCC_Ex. A-1 (’721 Patent) at 5:21–41; see also id. at 3:23–26. CMC’s construction retains the

 plain meaning of the term used in the specification. See Kinik Co. v. Int’l Trade Comm’n, 362

 F.3d 1359, 1365 (Fed. Cir. 2004) (“The words of patent claims have the meaning and scope with

 which they are used in the specification and the prosecution history.”). CMC’s construction also

 is supported by extrinsic evidence, including expert testimony (Ex.13_JA0563–64), and was

 adopted by the ITC in the 1204 Investigation (Ex.1_JA0079–81).

        DuPont’s proposal construes “incorporated...internal to an outer surface thereof” to mean

 “contain within their outer surfaces.” DuPont: (1) changes “outer surface” to “outer surfaces;” (2)

 replaces “incorporated in” with “contain within”—a term that is not used in the ’721 Patent; and

 (3) reads out the concept of incorporating the species “internal” to the outer surface. DuPont

 provides no justification for these departures from the claim language and specification.

 Retractable Techs., Inc. v. Becton, Dickinson & Co., 653 F.3d 1296, 1305 (Fed. Cir. 2011)

 (cautioning against “allow[ing] the claim language to become divorced from what the specification

 conveys”); Phillips, 415 F.3d at 1215 (“[S]pecification ‘is always highly relevant to the claim

 construction analysis.’”) (citation omitted).




                                                  17
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 27 of 90 PageID #: 10268




                           b. Subpart [2b]:




    CMC’s Construction                             DuPont’s Construction
    “The recited chemical species is a             “the colloidal silica abrasive particles
    compound that contains nitrogen or             contain within their outer surfaces one or
    phosphorous.”                                  more nitrogen and phosphorous
                                                   containing compounds but do not contain
    Note: The claims may further include           an aminosilane or phosphonium silane
    additional, unrecited chemical species outside within their outer surfaces”
    the scope of this limitation.
                                                   NOTE: Defendants propose a construction
                                                   of the claim phrase as a whole.

        CMC’s construction follows the language of the claim, which requires only one “chemical

 species” that contains nitrogen or phosphorous. The specification supports CMC’s construction. It

 explains that the chemical species is either nitrogen-containing “or” phosphorous-containing. See,

 e.g., JCCC_Ex. A-1 (’721 Patent) at 14:55–62 (“In one embodiment, a suitable concentrate

 includes ...a colloidal silica including a nitrogen-containing compound such as an aminosilane

 compound or a phosphorus-containing compounds such as a phosphonium silane compound

 incorporated internal to an outer surface of the particles.”). The ITC adopted CMC’s construction.

 Ex.1_JA0081–82 (ID).

        DuPont omits “chemical species” and rewrites “a nitrogen containing compound or a

 phosphorus containing compound” to “one or more nitrogen and phosphorous containing

 compounds.” A “nitrogen and phosphorous containing compound” is not required, but a “chemical

 species” (which DuPont omits) is expressly recited. DuPont’s construction contradicts the plain

 language of the claim.




                                                18
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 28 of 90 PageID #: 10269




                            c. Subpart [2c]:




    CMC’s Construction                                 DuPont’s Construction
    “The recited chemical species is neither an        “the colloidal silica abrasive particles
    aminosilane nor a phosphonium silane.”             contain within their outer surfaces one or
                                                       more nitrogen and phosphorus containing
    Note: The claims may further include               compounds but do not contain aminosilane
    additional, unrecited chemical species outside     or phosphonium silane within their outer
    the scope of this limitation.                      surfaces”

                                                     NOTE: DuPont proposes a construction of
                                                     the phrase as a whole.
        The parties dispute whether it is specifically “the chemical species” that is “not an

 aminosilane or a phosphonium silane,” or whether this negative limitation applies to the particles

 as a whole. Only CMC’s construction is consistent with the plain language of the claim.

        As the claim states, “the” previously recited chemical species cannot be aminosilane or

 phosphonium silane. This is a “comprising” claim, and as such imposes no restrictions on other

 chemical species that can exist in the particle. See Vivid Techs., 200 F.3d at 811 (“The signal

 ‘comprising’ implements the general rule that absent some special circumstance or estoppel

 which excludes the additional factor, infringement is not avoided by the presence of elements

 or steps in addition to those specifically recited in the claim.”). So long as “the chemical

 species” is not an aminosilane or a phosphonium silane, there can also be aminosilane or a

 phosphonium silane in the particles.

        The embodiments in the ’721 Patent explicitly support CMC’s construction: “[i]t will be

 understood that the colloidal silica abrasive particles may include two or more of the above

 described chemical species incorporated in the particles,” including an aminosilane species and

 a non-aminosilane species, such as a quaternary amine. JCCC_Ex. A-1 (’721 Patent) at 4:59–

                                                  19
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 29 of 90 PageID #: 10270




 65; see also id. at 39:19–43 (Example 13 describing a particle with both 3-ethyloxypropylamine

 (“EOPA”)—a non-aminosilane nitrogen containing compound—and an aminosilane). The

 prosecution history also describes that it is “the chemical species” that cannot be aminosilane

 or phosphonium silane. JCCC_Ex. A-2 at 95.

        CMC’s expert in the 1204 Investigation testified that



                                                                                    Ex.13_JA0567

 (CMC’s ITC Expert Testimony). Even DuPont’s expert agreed that a particle can include other

 chemical species and satisfy the claim. Ex.1_JA0084 (ID) (DuPont’s expert agrees that “yes,”

 the claim “can include other species that aren’t even recited in this claim.”).

        DuPont simply ignores “the chemical species” limitation and requires that the particles

 as a whole do not contain aminosilane or phosphonium silane. DuPont’s construction

 contradicts the plain claim language, the intrinsic and extrinsic evidence, and basic canons of

 claim construction on antecedent basis and the open-ended transitional phrase “‘comprising’

 [which] creates a presumption that...the claim does not exclude additional, unrecited elements.”

 Crystal Semiconductor Corp. v. TriTech Microelectronics Int’l, Inc., 246 F.3d 1336, 1348 (Fed.

 Cir. 2001); NCR Corp. v. Documotion Rsch., Inc., C.A. No. 14-395-GMS, 2015 WL 6697251,

 at *6 n.22 (D. Del. Nov. 3, 2015) (a claim term with the indefinite article “a” suggests that later

 references with the definite article “the” refer to the same term).




                                                  20
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 30 of 90 PageID #: 10271




                2. Defendants’ Answering Position

                            a. DuPont’s construction accurately tracks the intrinsic evidence.

        Applying the principle that the claim construction “inquiry is not limited to an analysis of

 [a] phrase in isolation,” 10 the Term 2 limitations should be construed as a whole to mean:

                The colloidal silica abrasive particles contain within their outer surfaces
                one or more nitrogen or phosphorous containing compounds but do not
                contain an aminosilane or phosphonium silane within their outer
                surfaces. 11

        With the two “wherein” clauses properly “[r]ead together,” the claimed colloidal silica

 abrasive particles necessarily include at least one nitrogen- or phosphorous-containing chemical

 species and necessarily exclude aminosilane and phosphonium silane compounds. Innovative

 Memory Systems, Inc. v. Micron Technology, Inc., 781 Fed. App’x 1013, 1016 (Fed. Cir. 2019)

 (“The relationship is defined in the claim. Indeed, it is described in the ‘wherein’ clause directly

 before the disputed limitation.”); see also Kruse Technology Partnership v. Volkswagen AG, 544

 Fed. App’x 943, 949 (Fed. Cir. 2013).

        Starting with the words of the claims, “a chemical species incorporated in the colloidal

 silica” necessarily encompasses “one or more chemical species.” This follows from the “general

 rule” of claim construction and the patent’s express definition. JCCC_Ex. A-1, 39:25-30 (“The use

 of the terms ‘a’ and ‘an’ and ‘the’... are to be construed to cover both the singular and the plural,

 unless otherwise indicated herein or clearly contradicted by context.”); ABS Glob., Inc. v.

 Cytonome/St, LLC, 84 F.4th 1034, 1040-41 (Fed. Cir. 2023) (relying on patent’s definition of “a”

 as “one or more” to reinforce the general rule that “a” includes the plural). Like the claims, where




 10
   Intel Corp. v. Qualcomm Inc., 21 F.4th 784, 792 (Fed. Cir. 2021).
 11
    DuPont has clarified its construction to recite “nitrogen or phosphorous containing
  compounds.”
                                                  21
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 31 of 90 PageID #: 10272




 there are multiple incorporated compounds, the specification describes each—including

 aminosilane compounds specifically—as incorporated “chemical species.” JCCC_Ex. A-1, 4:59-

 5:2 (“[C]olloidal silica abrasive particles may include two or more of the above described

 chemical species incorporated in the particles. For example…a first incorporated chemical

 species may include an aminosilane compound….”), 6:11-14 (“The chemical species…may

 include any one or more of the species described above, but most preferably includes an

 aminosilane compound.”). What this means is that the negative limitation—“wherein the

 chemical species is not an aminosilane or phosphonium silane”—applies equally to each of the

 “one or more” chemical species in the colloidal silica particles.

        Excluding aminosilane and phosphonium silane compounds is reinforced and necessitated

 by the prosecution history. Fenner Investments, Ltd. v. Cellco P’ship, 778 F.3d 1320, 1325 (Fed.

 Cir. 2015). During prosecution, the USPTO rejected Plaintiff’s claims over the “Fu” reference (US

 Patent Application Publication 2015/0267081), which teaches:

                A permanent positive charge may be the result, for example, of
                incorporating a cationic compound on and/or in the particle. The
                cationic compound may include, for example, a metal cation, a nitrogen
                containing compound such as an amine, and/or a phosphonium
                compound.

 JCCC_Ex. A-2, 136, (¶18). In response, Plaintiff conceded that “Fu teaches that the cationic

 compound may include…a nitrogen-containing compound such as an amine or a phosphonium

 compound” but then distinguished Fu as “not exclude[ing] an aminosilane or phosphonium

 silane, as required by the pending claims.” 12 JCCC_Ex. A-2, 95. The USPTO relied on this

 distinction, quoting the negative “wherein” limitation in the reasons for allowance. JCCC_Ex. A-


 12
    Plaintiffs misrepresented Fu—which teaches “[a] permanent positive charge may be the result,
  for example, of incorporating a cationic compound [such as an amine] on and/or in the particle”
  (JCCC_Ex. A-2, 136)—as “not teach[ing] amine compounds incorporated in the colloidal silica
  abrasive particles internal to an outer surface thereof.” Id.; JCCC_Ex. A-2, 95.
                                                 22
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 32 of 90 PageID #: 10273




 2, 106; Kaken Pharm. Co. v. Iancu, 952 F.3d 1346, 1352-54 (Fed. Cir. 2020) (limiting claim scope

 based on applicant’s “statements during prosecution, followed by the examiner’s statements”).

                            b. Plaintiff’s proposed construction contradicts both intrinsic and
                               extrinsic evidence.

        Plaintiff does not dispute that the two “wherein” clauses (§III.B.1.b-c) both relate back to

 the “chemical species incorporated in the colloidal silica abrasive particles internal to an outer

 surface thereof” (§III.B.1.a) and that the incorporated “chemical species” cannot be an aminosilane

 or phosphonium silane compound (§III.B.1.c). However, Plaintiff’s construction “note” that “[t]he

 claims may further include additional, unrecited chemical species outside the scope of this

 limitation” is a backdoor to include the expressly excluded aminosilane and phosphonium silane

 compounds. See §III.B.1.c_pg.3. Indeed, while conceding that aminosilane and phosphonium

 silane compounds are “chemical species,” Plaintiff nevertheless argues that there are “no

 restrictions on other chemical species that can exist in the particle.” Id., 10. This is irreconcilable

 with its arguments distinguishing Fu as “not exclud[ing] an aminosilane or phosphonium silane

 [from within the particles], as required by the pending claims.” JCCC_Ex. A-2, 95; Baxter

 Diagnostics Inc. v. PB Diagnostic Sys., Inc., 57 F.3d 1082, 1995 WL 253177, at *5 (Fed. Cir.

 1995) (rejecting argument that failed to address “prosecution history, much less attempt to

 reconcile [it] with this litigation-induced claim interpretation”).

        Plaintiff’s argument that there are “no restrictions on other chemical species that can exist

 in the particle” because the preamble uses the “comprising” transition term (§III.B.1.c_pg.19) is

 further foreclosed by extensive Federal Circuit guidance that “‘[c]omprising’ is not a weasel word

 with which to abrogate claim limitations.” Spectrum Int’l., Inc. v. Sterilite Corp., 164 F.3d 1372,

 1380 (Fed. Cir. 1998). While the “comprising” transition may allow additional unrecited elements

 following the preamble, it does not permit fundamental alteration of the recited claim elements


                                                   23
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 33 of 90 PageID #: 10274




 and “does not reach into each of the…steps to render every word and phrase therein open-ended.” 13

 Dippin’ Dots, Inc. v. Mosey, 476 F.3d 1337, 1343 (Fed. Cir. 2007); see also Outside the Box

 Innovations, LLC v. Travel Caddy, Inc., 695 F.3d 1285, 1305 (Fed. Cir. 2012)

 (“‘[C]omprising…does not change the elements that are stated in the claim.”). Here, use of

 “comprising” in the preamble here does not open the colloidal silica particles to include the

 expressly excluded aminosilane and phosphonium silane chemical species.

        A similar overbroad construction was rejected in Jeneric/Pentron, Inc. v. Dillon Co., Inc.,

 where patent owner attempted to read “comprising” 0–1% of cerium oxide on an accused product

 containing 1.61% of cerium oxide. 205 F.3d 1377, 1382-83 (Fed. Cir. 2000). The Federal Circuit

 soundly rejected patent owner’s argument that the first 0.92% of cerium oxide was within the

 claimed 0–1% range and the remaining 0.69% was allowed for by the “comprising” transition,

 because “it would read out of claim 1 the express claim ranges.” Id. Similarly, Plaintiff’s

 construction improperly relies on “comprising” to read out the “the chemical species is not an

 aminosilane or a phosphonium silane” limitation and place “no restrictions on other chemical

 species that can exist in the particle.” §III.B.1.c_pg.19.

        Plaintiff’s reliance on the specification to include expressly excluded chemical species

 (§III.B.1.c_pg.19) is misplaced. As a preliminary matter, the statement that “the colloidal silica

 abrasive particles may include two or more of the above described chemical species incorporated




 13
    The “comprising” cases on which Plaintiff relies similarly address only that the body of the
  claims are open to additional elements without any implication that each individual element is
  “open” to modification. E.g., Vivid Techs., Inc. v. Am. Sci. & Engr., Inc., 200 F.3d 795, 811 (Fed.
  Cir. 1999) (“The signal ‘comprising’ implements the general rule that… infringement is not
  avoided by the presence of elements or steps in addition to those specifically recited in the
  claim,”); Crystal Semiconductor Corp. v. TriTech Microelectronics Int’l, Inc., 246 F.3d 1336,
  1348 (Fed. Cir. 2001) (“When a patent claim uses the word ‘comprising’ as its transitional phrase,
  the use of ‘comprising’ creates a presumption that the body of the claim is open.”).
                                                   24
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 34 of 90 PageID #: 10275




 in the particles” (id. at 10-11, quoting ’721 Patent, 4:59–65) in context reflects that aminosilane

 and phosphonium silane compounds are “chemical species” and thus within the meaning of the

 negative “wherein” limitation. JCCC_Ex. A-1, 4:45-58.

        Plaintiff’s reliance on alternative embodiments such as Example 13—which it

 characterizes as a particle having both aminosilane and non-aminosilane internal chemical

 species—does not support a construction contrary to the claim language and prosecution history.

 See §III.B.1.c_pg.20 As observed in August Tech. Corp. v. Camtek, Ltd.,

                [t]he mere fact that there is an alternative embodiment disclosed in the
                asserted patent that is not encompassed by our claim construction does
                not outweigh the language of the claim, especially when the court’s
                construction is supported by the intrinsic evidence. This is especially
                true where, as here, other unasserted claims in the parent patent cover
                the excluded embodiments.

 655 F.3d 1278, 1285 (Fed. Cir. 2011) (citations, quotations, and alterations omitted). Like August

 Tech., “unasserted claims” that expressly incorporate aminosilane chemical species are found in

 other Plaintiff’s patents with the same Example 13 and common priority. See, e.g., Ex. 16, JA0763-

 0787 (29:55-30:25, claim 1); Ex. 17, JA0788-0812 (29:15-51, claim 1).

        For all reasons stated above, DuPont’s construction correctly excludes aminosilane and

 phosphonium silane compounds from being internal to the outer surface of the colloidal silica

 abrasive particles.




                                                 25
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 35 of 90 PageID #: 10276




                3. CMC’s Reply Position

                           a. Subparts [2a] and [2b] (Claims 1 and 26)

        DuPont purportedly construes Term 2 “as a whole,” but addresses only subpart c, which is

 only recited in claim 1. §III.B.2.a_pg.21. DuPont does not address subparts a and b of Term 2—

 which are identical to Term 4 and found in both claims 1 and 26—other than to acknowledge that

 its construction was wrong. Id. at 21 n.11 (revising construction).

                           b. Subpart [2c] (Claim 1)

        The parties dispute whether it is “the chemical species” that is “not an aminosilane or a

 phosphonium silane,” or, as DuPont proposes, whether this negative limitation applies to the

 internal portion of the particles as a whole. DuPont acknowledges that the negative limitation

 “relate[s] back to the chemical species,” §III.B.2.b_pg.23, yet DuPont rewrites the claim to require

 that the “particles…do not contain aminosilane or phosphonium silane within their outer surfaces.”

 §III.B.2.a_pg.21.

        DuPont makes three arguments for rewriting the claim.

            •   (1) The two “wherein” clauses in Term 2 “read together” mean the entire particles
                rather than the recited “chemical species” “exclude aminosilane and phosphonium
                silane” (id.);

            •   (2) “a chemical species” “necessarily encompasses ‘one or more chemical species’”
                and the negative limitation “applies equally to each of the ‘one or more’ chemical
                species” (id. at 21-22); and

            •   (3) the prosecution history allegedly supports DuPont’s construction (id. at 22-23).

        First, regarding the “wherein” clauses, DuPont cites cases that do not justify its position.

 Id. at 6. In Innovative Memory and Kruse Technology the claims had terms with the definite article

 “the,” which had not been previously introduced with the indefinite article “a,” requiring the court

 to read the elements of the claim together to give effect to the definite article. 781 Fed. App’x at

 1016 (“[C]laims requires ‘the correspondence.’”) (emphasis in original); 544 Fed. App’x at 950

                                                 26
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 36 of 90 PageID #: 10277




 (“[D]efinite article (‘the’), indicat[es] a particular combustion.”). Term 2 does not share this

 infirmity. Moreover, both parties agree the “wherein” clauses relate back to the “chemical species”

 (§III.B.2.b_pg.23); there is no basis for ignoring that limitation and applying the negative

 limitation to the whole internal portion of the particle.

        Second, DuPont’s argument relying on “a” encompassing “one or more” is also misplaced.

 §III.B.2.a_pgs.21-22. The term “a” is not limited to a single item, but neither does it require

 multiple items.    Siemens Mobility, Inc. v. Iancu, 825 F. App’x 867, 872 (Fed. Cir. 2020)

 (“[R]equir[ing] multiple…[would] eliminate the option of one…encompassed by the use of the

 article ‘a.’”). Here, “a” in claim 1 means the “one or more” chemical species is not an aminosilane

 or a phosphonium silane—not that all chemical species in the particle must exclude such material.

        Indeed, in Silicon Graphics, the Court rejected the proposition that claim language

 modifying an element introduced with the indefinite article “a” should be construed to modify all

 of such elements, rather than simply “one or more” of the elements. 607 F.3d at 789-91. The

 lower court construed “a rasterization process which operates on a floating point format,” to mean

 the “[rasterization] process as a whole operates on a floating point format” and granted summary

 judgment of non-infringement for accused products that included both floating point and fixed

 point rasterization processes because the products thus did not operate on a floating point format

 “as a whole.” Id. at 789-90. The Federal Circuit reversed because the proper claim construction

 was that “one or more of the rasterization processes…operate on a floating point format,” not that

 “all rasterization processes must operate on a floating point format.” Id. at 790-91.

        Here too, claim 1 is satisfied if one species is not an aminosilane, regardless of the presence

 of other species in the particle.     Id.   This is exactly what the patent describes. See, e.g.,




                                                   27
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 37 of 90 PageID #: 10278




 JCCC_Ex.A-1 at 4:59-65 (“[P]articles may include two or more…chemical species.”), 39:19-43

 (Example 13); §III.B.1.c_pgs.19-20.

        Finally, DuPont mischaracterizes the prosecution history, which does not support DuPont’s

 position, let alone meet the “exacting standard” required to limit claim scope. Cont’l Circuits LLC

 v. Intel Corp., 915 F.3d 788, 798 (Fed. Cir.) (citing Thorner v. Sony Computer Entm’t Am. LLC,

 669 F.3d 1362, 1367 (Fed. Cir. 2012)).        Specifically, DuPont omits entire portions of the

 applicants’ statements to suggest that “Plaintiff conceded” that “Fu” teaches an internal cationic

 compound and only “distinguished Fu as ‘not exclude[ing] [sic] an aminosilane or phosphonium

 silane, as required by the pending claims.’” §III.B.2.a_pgs.22-23 (emphasis in original). But that

 half-sentence merely paraphrases the claim and DuPont blatantly ignores the actual context. The

 entire excerpt shows that applicants discussed the cationic compound in the context of “a covalent

 interaction” and, as shown in yellow below, repeatedly distinguished Fu as not disclosing any

 internal chemical species. JCCC_Ex.A-2_pgs.95-98. Since applicants explained that Fu does not

 even disclose an internal chemical species, 14 they can hardly have made a “clear and unmistakable

 disclaimer” relating to whether the non-existent internal chemical species is not an aminosilane or

 phosphonium silane. Thorner, 669 F.3d at 1367.




 14
    DuPont argues that Fu discloses an internal chemical species. §III.B.2.a_pg.22 n.12. It does not;
  Fu, another CMC patent that is not prior art to the ’721 Patent (35 U.S.C. § 102 (b)(2)(C)), uses
  the same PPC definition as the ’721 Patent but does not disclose embodiments with internal
  chemical species. JCC_Ex.A-2_pgs.133-37.
                                                 28
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 38 of 90 PageID #: 10279




 JCCC_Ex.A-2_pg.95. DuPont also is wrong that the Examiner “relied on this distinction.”

 §III.B.2.a_pg.22-23. The Examiner did not mention it and merely paraphrased the claim language.

 JCCC_Ex.A-2_pg.106. DuPont’s incomplete prosecution history excerpt falls far short of the

 disclaimer standard. Thorner, 669 F.3d at 1367.

        DuPont’s other arguments do not justify its rewritten claim scope. §III.B.2.b_pgs.23-25.

 For example, DuPont argues that the “note” included in CMC’s construction is “a backdoor to

 include the expressly excluded aminosilane.” §III.B.2.b_pg.23. But whether called a “note” or

 not, CMC’s construction reflects the plain meaning of these comprising claims; so long as “the

 chemical species” is not an aminosilane or phosphonium silane, there can also be aminosilane or

 a phosphonium silane in the particles. §III.B.1.c_pgs.19-20; CollegeNet, Inc. v. ApplyYourself,

 Inc., 418 F.3d 1225, 1235 (Fed. Cir. 2005) (“[T]he use of ‘comprising’ suggests that additional,

 unrecited elements are not excluded.”).

        DuPont’s cases do not change this straightforward conclusion regarding “comprising”

 terms. §III.B.2.b_pgs.23-25. Spectrum involved clear prosecution disclaimer, 164 F.3d at 1379,

 which does not exist here. Dippin’ Dots applied the accepted principle that in a comprising claim

                                                29
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 39 of 90 PageID #: 10280




 “an infringing process could practice other steps in addition to the ones mentioned,” 476 F.3d at

 1343—exactly as in CMC’s construction. In Outside the Box Innovations, the unrecited element

 contradicted the claims. 695 F.3d at 1305 (unrecited element—plywood—“removed the flexibility

 of” a claimed “flexible fabric front panel”). And in Jeneric/Pentron, plaintiff tried to expand the

 claimed range of 0–1% to cover a product containing 1.61% of material, effectively negating the

 range. 205 F.3d at 1383.

        Here, by contrast, presence of an aminosilane or a phosphonium silane internal to the

 particle does not alter the claimed chemical species in the particle. Indeed, Example 13 expressly

 discloses a particle that both includes an internal aminosilane and another chemical species.

 JCCC_Ex.A-1 (Patent) at 4:59-65, 39:19-43.        DuPont, not CMC, seeks to “abrogate claim

 limitations” and “fundamental[ly] alter[]” the claim by applying the negative limitation to the

 particles as a whole. Contra §III.B.2.b_pgs.23-24.

        Finally, DuPont argues its construction prohibiting any aminosilanes in the particle is

 supported by other CMC patents that claim particles with aminosilanes. §III.B.2.b_pg.25. But

 DuPont overstates the holding of August Tech., which simply found that the language of the claim

 outweighs alternative embodiments. 655 F.3d at 1285. It did not create a rule that the existence

 of unasserted claims compelled the exclusion of embodiments where, as here, the plain claim

 language covers those embodiments. Id.

        DuPont has no support for rewriting the claim language, and its construction should be

 rejected.




                                                 30
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 40 of 90 PageID #: 10281




                4. Defendants’ Sur-Reply Position

        Plaintiff’s argument that the negative “wherein” limitation does not exclude aminosilane

 and phosphonium silane (§III.B.3_pgs.26-28) fails for multiple reasons.

        First, Innovative Memory explains that a “wherein” clause defines a relationship in a claim

 (781 Fed. App’x at 1016) and Kruse Technology explains that “terms of a relevant limitation when

 read together indicate the meaning of the limitation itself” (544 Fed. App’x at 949). These cases

 guide reading the present “wherein” clauses as complementary, together defining what is included

 and excluded from within the particles. §III.B.2.a_pgs.21-22. Plaintiff does not meaningfully

 dispute those holdings—agreeing the “‘wherein’ clauses relate back to the ‘chemical species’”—

 instead resorting to an irrelevant analysis regarding the difference between “the” and “a” claim

 language. 15 §III.B.3.b_pgs.26-27.

        Second, Plaintiff concedes that “a” chemical species means “one or more” chemical species

 but relies on Silicon Graphics to argue that the negative limitation does not apply to each of the

 “one or more” chemical species. §III.B.3.b_pg.27. In Silicon Graphics, however, the claimed

 process that required a “floating” point rasterization process had no negative limitation excluding

 distinct “fixed” point rasterization. 607 F.3d 790-91. Contrarily, aminosilanes, phosphonium

 silanes, and all other nitrogen and phosphorus containing compounds are all “chemical species”

 according to the ’721 patent—not analogous to Silicon Graphics's mutually exclusive “fixed” vs

 “floating” distinction—and the negative limitation here—not present in Silicon Graphics—

 expressly excludes aminosilane and phosphonium silane chemical species. §III.B.2.a_pg.22,

 (citing JCCC_Ex.A-1, 4:59-5:2, 6:11-14). Plaintiff’s argument also fails to address embodiments



 15
    Plaintiff’s positions on other DuPont cited caselaw (§III.B.3.b_pgs.21-22) were already
  addressed in DuPont’s answering brief (§III.B.2.b_pgs.23-25; §III.C.2_pgs.42-43) and not
  meaningfully rebutted.
                                                 31
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 41 of 90 PageID #: 10282




 in which—consistent with DuPont’s construction—“the first chemical species is ammonium and

 the second chemical species is a quaternary amine,” i.e., multiple internal “chemical species”

 where none are aminosilane or phosphonium silanes. JCCC_Ex.A-1, 4:59-5:2.

        Third, Plaintiff—not DuPont—mischaracterizes the prosecution history.

 §III.B.3.b_pgs.28-30; §III.B.2.a_pgs.21-23. Plaintiff’s invitation to include more context does

 not change that it distinguished the alleged invention over Fu by relying on the negative

 limitation as unconditionally excluding aminosilanes and phosphonium silanes:




 §III.B.3.b_pg.29 (copying JCCC_Ex._A-2_pg.95 (yellow highlights from Plaintiff, blue

 highlights from DuPont)). And, while not necessary for the analysis, Plaintiff is mistaken to argue

 that Examiner did not rely on these arguments:




                                                  32
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 42 of 90 PageID #: 10283




 JCCC_Ex._A-2_pg.106 (highlights added); §III.B.3.b_pg.29; Microsoft Corp. v. Multi–Tech Sys.,

 Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (“[A] patentee’s statements during prosecution, whether

 relied on by the examiner or not, are relevant to claim interpretation.”).

        Finally, Plaintiff argues that the prosecution history “falls far short of the disclaimer

 standard.” §III.B.3.b_pg.29. But DuPont has not argued disclaimer, instead explaining that

 construction of the negative limitation is informed by “critical” prosecution history.

 §III.B.2_pgs.21-25; §III.C.2_pgs.42-43; see also U. of Massachusetts v. L’Oreal S.A., 36 F.4th

 1374, 1379 (Fed. Cir. 2022) (prosecution history “may be critical” to claim construction even

 where not rising “to the level of unmistakable disavowal”).




                                                  33
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 43 of 90 PageID #: 10284




        C.      TERM 3 (Claims 1, 26):




                1. CMC’s Opening Position

        Consistent with both parties’ positions in the 1204 Investigation, CMC proposes

 constructions for two elements from this limitation, “a permanent positive charge of at least [15 or

 13] mV” and “wherein the colloidal silica abrasive particles have a permanent positive charge of

 at least [15 or 13] mV.”

        To avoid its failed construction from the 1204 Investigation, DuPont now refers to the

 whole claim limitation instead of the portions relevant to the parties’ dispute. Below, CMC

 addresses the actual disputed portions.




                                                 34
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 44 of 90 PageID #: 10285




                               a. Subpart [3a]




      CMC’s Construction                                   DuPont’s Construction 16
      “positive charge of at least [15 or 13] mV          “the colloidal silica abrasive particles have a
      that is not readily reversible, for example,        positive zeta potential of at least [15 or 13]
      via flushing, dilution, filtration, and the         mV that is not readily reversible, for
      like.”                                              example, via flushing, dilution, filtration,
                                                          and the like, and that results from the chemical
      Note: The recited permanent positive charge         species incorporated in the colloidal silica
      values are measured according to the three          abrasive particles internal to an outer surface
      step procedure described at column 11 of the        thereof”
      ’721 Patent specification: “A permanent
      positive charge of a specified value [at least      NOTE: Defendants propose a construction of
      N mV] means that the zeta potential of the          the claim phrase as a whole.
      colloidal silica particles remains above that
      specified value after the following three step
      filtration test: A volume of the polishing
      composition (e.g., 200 ml) is filtered through
      a Millipore Ultracell regenerated cellulose
      ultrafiltration disk (e.g., having a MW cutoff
      of 100,000 Daltons and a pore size of 6.3
      nm). The remaining dispersion (the
      approximately 65 ml of dispersion that is
      retained by the ultrafiltration disk) is
      collected and replenished with pH adjusted
      deionized water. The deionized water is pH
      adjusted to the original pH of the polishing
      composition using a suitable inorganic acid
      such as nitric acid. This procedure is
      repeated for a total of three filtration cycles.
      The zeta potential of the triply filtered and
      replenished polishing composition is then
      measured and compared with the zeta
      potential of the original polishing
      composition. This three step filtration test is
      further illustrated by way of example in
      Example 10 of the ’721 Patent.”



 16
    As in Term 2, CMC has bolded portions of DuPont’s construction for Terms 3a and 3b to align
  the parties’ positions. The bolding was not included in DuPont’s construction. See JCCC_Ex. A
  at 5-6.
                                                     35
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 45 of 90 PageID #: 10286




         CMC proposes that “permanent positive charge of at least [15 or 13] mV” means “positive

 charge of at least [15 or 13] mV that is not readily reversible, for example, via flushing, dilution,

 filtration, and the like,” because the specification requires that the recited permanent positive charge

 be measured according to the three-step test described at column 11 of the ’721 Patent. DuPont

 selectively truncates this express definition by entirely omitting the three-step test for measuring

 permanent positive charge, and replaces the term “charge” with “zeta potential.”

         Only CMC’s construction is consistent with the specification. The three-step filtration test

 incorporated in CMC’s construction is in the express definition in the specification. See JCCC_Ex.

 A-1 (’721 Patent) at 11:4–6 (“By permanent positive charge it is meant that the positive charge on

 the silica particles is not readily reversible, for example, via flushing, dilution, filtration, and the

 like.”); 11:14–31 (“Notwithstanding, as used herein, a permanent positive charge of at least 6 mV

 means that the zeta potential of the colloidal silica particles remains above 6 mV after the following

 three step filtration test...”).

         These statements are an express definition that delineates the scope of the claims to require

 that the permanent positive charge be measured by the recited test. Braintree Labs., Inc. v. Novel

 Labs., Inc., 749 F.3d 1349, 1356 (Fed. Cir. 2014) (finding that the part of the specification stating

 “The terms ‘clinically significant’ as used herein are meant to convey...” to be a clear definition

 and holding “[u]nder our precedent, the patentee’s lexicography must govern the claim

 construction analysis. Therefore, we disagree with the district court’s modification of the clear

 language found in the specification.”) (citations omitted); accord Ex.1_JA0070 (ID) (ITC

 determining that these statements are an express definition that requires permanent positive charge

 be measured by the recited test).




                                                   36
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 46 of 90 PageID #: 10287




        DuPont’s construction is unsupported. First, DuPont replaces the term “charge” with “zeta

 potential.” The two terms are related, but different; here “charge” can be “permanent” whereas “zeta

 potential” depends, e.g., on pH and conductivity. Ex.13_JA0578 (CMC’s ITC Expert Testimony).

 Second, DuPont omits the three-step filtration test that the inventors designed to quantify the

 permanent positive charge. Ex.13_JA0577; Renishaw PLC v. Marposs Societa’ per Azioni, 158

 F.3d 1243, 1249 (Fed. Cir. 1998) (describing the “situation in which a patent applicant has elected

 to be a lexicographer by providing an explicit definition in the specification for a claim term” and

 finding that, “[i]n such a case, the definition selected by the patent applicant controls”). And the

 ITC found that DuPont’s proposal “is based on the conclusory opinions of their expert.”

 Ex.1_JA0070–71 (ID).

                            b. Subpart [3b]:




    CMC’s Construction                                     DuPont’s Construction
    “the colloidal silica abrasive particles in the        “the colloidal silica abrasive particles have a
    chemical mechanical polishing composition              positive zeta potential of at least [15 or 13] mV
    have a permanent positive charge of at least           that is not readily reversible, for example, via
    [15 or 13] mV.”                                        flushing, dilution, filtration, and the like, and
                                                           that results from the chemical species
                                                           incorporated in the colloidal silica abrasive
                                                           particles internal to an outer surface
                                                           thereof”

        First, the parties dispute what sources of permanent positive charge should be included in

 the measurement. CMC proposes that the permanent positive charge is measured as the particles

 exist in the claimed “chemical mechanical polishing composition,” and so covers charge from the

 internal chemical species as well as charge from any aminosilane bonded to the outer particle

 surface. DuPont limits the source of the permanent positive charge to “the chemical species



                                                      37
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 47 of 90 PageID #: 10288




 incorporated in the colloidal silica abrasive particles internal to an outer surface thereof,” i.e.,

 DuPont excludes any charge from external aminosilane or other sources.

        Second, the parties dispute 17 whether the permanent positive charge must be measured for

 the group of particles in the polishing composition, as claimed, or for individual particles within

 the group, as DuPont argues in its non-infringement contentions.

        On both points, only CMC’s construction is supported by the claims and specification, as

 explained below and as found by the ITC. Ex.1_JA0068–79 (ID).

                                i.      The Claim Covers Permanent Positive Charge from
                                        Internal Chemical Species and Externally Bonded
                                        Aminosilane

        Claim 26 identifies at least two sources of permanent positive charge—an internally

 incorporated chemical species and an externally bonded aminosilane. JCCC_Ex. A-1; see also

 Ex.1_JA0072 (ID). Claim 1 does not separately require an externally bonded aminosilane, but also

 does not exclude it. Id. The “permanent positive charge” term in both claims should therefore be

 construed to account for both acknowledged sources of permanent charge (internally incorporated

 and externally bonded). Id.; Phillips, 415 F.3d at 1314 (“[C]laim terms are normally used consistently

 throughout the patent.”). CMC’s construction reflects the plain language of this term.

        CMC’s construction also flows directly from the specification, which states that a

 “permanent positive charge may be the result of incorporating the positive charged species in the

 particle” and “may further result from a covalent interaction between the particle and a positively

 charged species... [i.e., external surface treatment].” JCCC_Ex. A-1 at 11:6–10; see also id. at

 11:45–48 (“Components that are in the particle or are strongly associated (e.g., covalently bonded)



 17
   Ultimately, this dispute is not dispositive of any issue in the case, as CMC has proven (and will
  prove) infringement under either position. Ex.3_JA0359–68, JA0384–92 (Infringement
  Contentions).
                                                  38
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 48 of 90 PageID #: 10289




 with the particle surface remain with the particle such that there tends to be little if any change in

 the positive zeta potential thereof.”), 7:33–37 (“Positively charged colloidal silica abrasive particles

 may alternatively be obtained via incorporating a positively charged chemical species into the

 abrasive particles and then further bonding (via surface treating) the same or a different chemical

 species to the particle surface.”).

         Expert testimony from both parties at the ITC further supports CMC’s construction.

 Ex.1_JA0073 (ID) (citing expert testimony). CMC’s expert explained that the “sources” of positive

 charge in the claims include “the chemical species incorporated in the colloidal silica abrasive

 particles and also the aminosilanes that are bounded to the outer surface of the particle.” Id. DuPont’s

 expert agreed that the specification does “not indicate that the threshold value comes from inside,”

 but rather says that “there are species that could be covalently bonded to the surface and they

 would further increase the positive charge” and “because they are bonded to the surface, they’re

 permanent.” Id.

         DuPont’s construction, on the other hand, seeks to import a functional requirement—that

 the internal chemical species be the sole source of permanent positive charge. But the Federal

 Circuit is clear: “[w]here the function is not recited in the claim itself by the patentee, we do not

 import such a limitation.” Ecolab, 264 F.3d at 1367. The “function” that DuPont seeks to add—

 that the claimed permanent positive charge “results from” only the internal chemical species—is

 explicitly contradicted by the specification. For example, the specification describes that “prior to

 the surface treatment” the zeta potential of particles “may be less than 15 mV (e.g., less than 13

 mV or less than 10 mV) at a pH of 4.” JCCC_Ex. A-1 (’721 Patent) at 7:62–67. These particles

 are then combined with an “aminosilane compound bonded to the surface” (id.), which “would get

 you above the threshold,” as CMC’s expert explained in the 1204 Investigation. Ex.1_JA0074 (ID)



                                                   39
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 49 of 90 PageID #: 10290




 (citing expert testimony). DuPont’s expert also conceded this was disclosed in the specification.

 Id. CMC’s expert further explained the benefit of this structure is that “you are moving some of

 the charge to the interior and you don’t have to put as much charge on the surface” and “you get

 these advantages of having more of the surface available for the chemical-mechanical

 planarization.” Ex.1_JA0074–75 (ID) (citing expert testimony).

        Example 15 provides a working example of a composition in which the colloidal silica

 particles had a zeta potential of 10 or fewer mV before surface treatment, and a zeta potential of

 well over the claimed 15 mV threshold after surface treatment. JCCC_Ex. A–1 (’721 Patent) at

 32:57–33:42 (compositions 15D-15G); see also Ex.1_JA0075 (ID). At the ITC, DuPont’s expert

 agreed that particles with this structure would be expected to have permanent positive charge and

 DuPont admitted that these are embodiments to which claim 26 refers. Ex.1_JA0075 (ID). Thus,

 DuPont’s construction that the permanent positive charge results only from the internally

 incorporated species improperly excludes preferred embodiments. See GE Lighting Sols., LLC v.

 AgiLight, Inc., 750 F.3d 1304, 1311 (Fed. Cir. 2014) (“[W]here claims can reasonably [be]

 interpreted to include a specific embodiment, it is incorrect to construe the claims to exclude that

 embodiment, absent probative evidence on the contrary.”) (citation omitted).

                               ii.     The Term Does Not Require Measurement of Individual
                                       Particle Components Outside of the Composition

        CMC’s position is straightforward. Permanent positive charge is a characteristic of

 colloidal silica abrasive particles in a polishing composition at a specific pH and thus is measured

 across all the particles in a sample of the polishing composition. This is reflected in the claim

 language, which recites a “composition” comprising colloidal silica abrasive particles with a

 specific pH of the polishing composition (’721 Patent at claims 1, 26), as well as in the

 specification, which defines “permanent positive charge” as a measurement of a composition.


                                                 40
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 50 of 90 PageID #: 10291




 JCCC_Ex. A-1 (’721 Patent) at 10:38–39 (“The colloidal silica abrasive particles may optionally

 have a permanent positive charge in the polishing composition.”). Indeed, the required “three step

 filtration test” for “permanent positive charge” is described as being performed on a “volume of

 the polishing composition.” Id. at 11:14–17, 11:27–28 (describing comparison between zeta

 potentials of “the triply filtered and replenished polishing composition” and “the original polishing

 composition”).

        DuPont, on the other hand, would require that individual nano-sized particles be measured

 depending on whether that particle has an internal chemical species. Ex.4_JA0428–30, JA0445– 47

 (Non-Infringement Contentions). But claims 1 and 26 simply require that the same claimed group

 of particles (plural) have both an internally incorporated chemical species and the claimed minimum

 permanent positive charge—they do not specify a particle-by-particle assessment of the sources of

 that positive charge. JCCC_Ex. A-1 (’721 Patent) at Cls. 1, 26. Indeed, nothing in the specification

 says that either the internal “chemical species” or the “permanent positive charge” is measured

 particle-by-particle. To the contrary, the specification describes permanent positive charge as a

 characteristic of a composition (JCCC_Ex. A-1 (’721 Patent) at 10:38–11:28) and repeatedly states

 that chemical species are measured as a concentration—a molar ratio—in the composition. E.g., id.

 at 3:66–4:3 (“a molar ratio of the chemical species to silica in the colloidal silica abrasive

 particles...”), 21:7–22 (Table 2 reporting “Nitrogen level” concentration in a “Polishing

 Composition”), 20:48–53 (dissolving all particles in the composition to determine concentration).




                                                  41
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 51 of 90 PageID #: 10292




                 2. Defendants’ Answering Position

         DuPont proposes this clause from claims 1 and 26, which is relevant to both invalidity and

 noninfringement, should be construed as a whole to mean: 18

                 The colloidal silica abrasive particles have a positive zeta potential of at
                 least [15 or 13] mV that is not readily reversible, for example, via
                 flushing, dilution, filtration, and the like, and that results from the
                 chemical species incorporated in the colloidal silica abrasive particles
                 internal to an outer surface thereof.

 Importantly, as construed and consistent with the record, the claimed minimum PPC of 13 or 15

 mV “results from” the nitrogen or phosphorous containing chemical species incorporated

 internally to the colloidal silica particles.

         As a preliminary matter, Plaintiff manufactures a non-existent claim construction dispute.

 §III.C.1.b_pg.37-38. DuPont’s proposed construction does not require measuring each colloidal

 silica particle individually, as Plaintiff asserts. Id. Plaintiff’s distortion relates to an infringement

 issue, where Plaintiff improperly relied on the



 Plaintiff’s reliance on this             ZP is inconsistent with the claims’ express requirement that

 “the colloidal silica abrasive particles in the liquid carrier [having] a chemical species

 incorporated”—                                  —“have a permanent positive charge of at least [15

 or 13] mV.” Ex. 4, JA0428-430, 0445-447. But Plaintiff’s failure of proof is irrelevant at this stage.

 See HSM Portfolio LLC v. Fujitsu Ltd., No. CV 11-770-RGA, 2014 WL 2754734, at *3 (D. Del.



 18
    While this term can be construed, the required quantitative “charge” or “zeta potential” value is
  indefinite due to significant uncertainty arising from the measurement instrument and calculation
  method employed, neither of which is defined in the ‘721 patent or its claims. See Bombardier
  Recreational Prods. Inc. v. Arctic Cat Inc., 785 F. App’x 858, 867 (Fed. Cir. 2019) (Construable
  term “still indefinite if a person of ordinary skill in the art cannot translate the definition into
  meaningfully precise claim scope.”) (quoting Halliburton Energy Servs., Inc. v. M-I LLC, 514
  F.3d 1244, 1251 (Fed. Cir. 2008)).
                                                    42
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 52 of 90 PageID #: 10293




 June 17, 2014) (“There is no canon of claim construction that prefers an ‘easy to prove

 infringement’ construction.”).

                             a. “Permanent positive charge” and “charge” are defined in the
                                specification.

         The “permanent positive charge” term was crafted by Plaintiff for its patents and is not a

 term of art. The specification first explains that:

                 The colloidal silica abrasive particles may optionally have a permanent
                 positive charge in the polishing composition. The charge on dispersed
                 particles such as colloidal silica particles is commonly referred to in the
                 art as the zeta potential (or the electrokinetic potential).

 JCCC_Ex. A-1, 10:38-42. It then provides an express definition:

                 By permanent positive charge it is meant that the positive charge on
                 the silica particles is not readily reversible, for example, via flushing,
                 dilution, filtration, and the like.

 Id., 11:4-6. This express definition is controlling. Phillips v. AWH Corp., 415 F.3d 1303, 1316

 (Fed. Cir. 2005) (“[T]he inventor’s lexicography governs.”). Taken together, “permanent

 positive charge” in claims 1 and 26 thus means:

                 A positive zeta potential of at least [15 or 13] mV that is not readily
                 reversible, for example, via flushing, dilution, filtration, and the like.

         Plaintiff asserts that DuPont’s construction referencing “ZP” instead of “charge” is

 incorrect. § III.C.1.b.i_pg.38. But the specification is clear: “charge” in the context of PPC “is

 commonly referred to in the art as the zeta potential.” JCCC_Ex. A-1, 10:38-42. Indeed, all PPC

 values are reported in ZP units of millivolts (mV) and not the separate and distinct units of coulomb

 (C) that measure “charge” per its ordinary meaning. See, e.g., id. at 10:54-58, 11:14-31, Examples

 2, 3, 6-8, 10-13, 15-17, 19, 20, claims 1, 26; Ex. 18, JA0813-0815 at 102:9-18 (“Charge is in

 coulombs; zeta potential is in millivolts.”). Especially since charge cannot be measured in the mV




                                                   43
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 53 of 90 PageID #: 10294




 units used throughout the specification and claims, Plaintiff provides no basis to contradict its own

 lexicography.

         Other than “charge” vs. “ZP,” Plaintiff apparently agrees with DuPont’s construction

 except that Plaintiff adds yet another “note.” This “three-step filtration test” “note” is

 inappropriate, confusing, and contrary to law. If Plaintiff intended PPC to be limited to this three-

 step filtration, it and the patent should have said so expressly. But they do not. Plaintiff’s “note”

 should be rejected as it will only serve to sow jury confusion.

         To the extent Plaintiff’s construction includes its “note” as a limitation, it improperly

 imports a specific “6-mv” embodiment as if it were a general definition. §III.C.1.a_pgs.35-37,

 citing JCCC_Ex. A-1, 11:14-16 (“a permanent positive charge of at least 6 mV means”). Much

 like Silicon Graphics, Inc. v. ATI Techs., Inc.,

                 [t]he specification does not suggest that the patentee intended to make
                 that [6 mV] embodiment of [PPC] coextensive with the claims.
                 Elsewhere, the specification defines [PPC] without reference to [a three
                 step filtration test]….Those more general statements trump the
                 definition found in the embodiment on which [Plaintiff] relied.

 607 F.3d 784, 792-93 (Fed. Cir. 2010).

         The 6-mV test is expressly exemplary as opposed to definitional. E.g., JCCC_Ex. A-1,

 11:11-31 (“e.g., 200 ml,” “e.g., having a MW cutoff of 100,000 Daltons,” “using a suitable

 inorganic acid”). Reinforcing that the 6-mV test is not definitional, it states, as quoted in Plaintiff’s

 “note,” that the “test is further illustrated below by way of example (in Example 10)” which in turn

 implements the test differently from the “note.” JCCC_Ex. A-1, 11:30-31, 28:1-56 (e.g., 41-mV

 PPC for 10B based on “[c]orrected zeta-potential values of the triply ultra-filtered and replenished

 polishing composition 10B were obtained after adding KCl to correct for ionic strength

 differences”). It would be error to “go[] beyond [the specification’s] explicit definition [of PPC]



                                                    44
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 54 of 90 PageID #: 10295




 to” incorporate the incomplete exemplary 6-mV embodiment. Hyperphrase Techs., LLC v.

 Google, Inc., 260 Fed. App’x 274, 279 (Fed. Cir. 2007).

                             b. The permanent positive charge results from the internally
                                incorporated chemical species.

                                 i.      DuPont’s Construction

         DuPont’s construction that the PPC “results from” the incorporated nitrogen- or

 phosphorus-containing chemical species follows from the words of the claim. It also reflects the

 alleged invention as described in the specification and prosecution history, as well as testimony

 from named inventors. And DuPont’s proposed construction provides the only possible distinction

 over prior art particles that Plaintiff was not entitled to claim.

         Claim 1 calls for colloidal silica particles with a nitrogen or phosphorus containing

 compound internal to their outer surface “wherein the colloidal silica abrasive particles have a

 permanent positive charge of at least 15 mV.” As was the case in Alere, Inc. v. Rembrandt

 Diagnostics, LP, “[t]his [‘wherein’] clause includes functional language that informs us of the

 structural requirements of the claim.” 791 Fed. App’x 173, 177-178 (Fed. Cir. 2019). That is, “the

 wherein clause [creates] a functional limitation for structural relationships of the” composition that

 should be read together with the complementary chemical species limitation. Id; see also K-2

 Corp. v. Salomon S.A., 191 F.3d 1356, 1363 (Fed. Cir. 1999) (reading “two clauses as

 complementary”).

         For claim 1 to be meaningful, the claimed minimum PPC must result from the “chemical

 species incorporated in the colloidal silica abrasive particles.” Otherwise, it would lack essential

 features: the source of the claimed minimum PPC property and the amount of internal species

 required. Indeed, unless it provides a functional requirement for the amount of recited incorporated

 chemical species, the PPC limitation would “add[] nothing to the patentability or substance of the


                                                    45
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 55 of 90 PageID #: 10296




 claim.” Texas Instruments Inc. v. U.S. Intern. Trade Commn., 988 F.2d 1165, 1172 (Fed. Cir.

 1993).

          The specification reinforces that PPC results from the internally incorporated chemical

 species. As recognized in the specification, the prior art already contained positively charged

 colloidal silica particles prepared by treating their external surface with aminosilane. See

 JCCC_Ex. A-1, 5:3-10. By contrast, the alleged innovation was:

                 the realization that positively charged colloidal silica abrasive particles
                 may alternatively be obtained via incorporating certain positively
                 charged chemical species into the abrasive particles.

 Id., 5:21-24; see also id., 5:26-28 (“particles having an internal chemical species that provides a

 positive charge may be fabricated”); id., 11:6-8 (“A permanent positive charge may be the result

 of incorporating the positive charged species in the particle.”).

          The antecedent language for claim 1 similarly describes incorporating internal chemical

 species “such that the colloidal silica abrasive particles have a positive charge of at least 15

 mV.” Id., 2:18-26; see also id., Abstract, 3:53-56. That the claimed minimum PPC results from

 the internally incorporated species is the only construction consistent with this text in the

 specification. See Medrad, Inc. v. MRI Devices Corp., 401 F.3d 1313, 1319 (Fed. Cir. 2005) (“It

 is therefore entirely proper to consider the functions of an invention in seeking to determine the

 meaning of particular claim language.”); Kaken, 952 F.3d at 1352 (Fed. Cir. 2020) (“A patent’s

 statement of the described invention’s purpose informs the proper construction of claim terms.”).

          Similarly linking the claimed minimum PPC to the internally incorporated chemical

 species, the specification describes use of a somewhat lower PPC resulting from internally

 incorporated chemical species in combination with surface treatment. JCCC_Ex. A-1, 7:56-8:3.

 This entails particles having a “low level of the internal chemical species” that provide a “zeta

 potential of the particles prior to the surface treatment” of “less than 15 mV (e.g., less than 13
                                                   46
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 56 of 90 PageID #: 10297




 mV or less than 10 mV) at a pH of 4,” to which an aminosilane surface treatment is subsequently

 applied. Id. Like the specification’s description corresponding to claim 1, the minimum PPC here

 results from the internally incorporated chemical species independent of the effects of surface

 treatment, i.e., the minimum PPC is “prior to the surface treatment.” Id.

        This lower PPC “prior to the surface treatment” embodiment is reflected in claim 26, which

 tracks claim 1, except lowering the minimum PPC resulting from the internal chemical species to

 at least 13 mV and adding a later and separate limitation directed to bonding an aminosilane

 compound to the outer surface of the colloidal silica abrasive particles:




        In both claims, antecedent for the PPC limitation is the same “the colloidal silica abrasive

 particles” having chemical species incorporated therein. Credle v. Bond, 25 F.3d 1566, 1571 (Fed.

 Cir. 1994) (considering “grammatical structure and syntax”). As in the specification, the surface

 bonded “aminosilane compound” in claim 26 is an additional element different from “the colloidal

 silica abrasive particles having a permanent positive charge of at least 13 mV” that is measured in

 accordance with the specification “prior to the surface treatment.” JCCC_Ex. A-1, 7:56-8:3. In

 other words, for both claims, the claimed minimum PPC is functionally related to (results from)

 the same “colloidal silica abrasive particles” having chemical species incorporated therein prior to

                                                 47
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 57 of 90 PageID #: 10298




 any optional or claimed surface treatment. 19 See Rexnord Corp. v. Laitram Corp., 274 F.3d 1336,

 1342 (Fed. Cir. 2001) (claim terms “should be construed consistently”).

        The clear import of the claims and specification is that the minimum PPC resulting from

 internal chemical species needs to be at least 15 mV or as low as 13 mV if supplemented with an

 exterior aminosilane coating. This conclusion is further reinforced by disclosures in CMC’s own

 prior art US Patent 7,994,057 reporting PPC values resulting from aminosilane coating in the

 significantly higher range of 30-40 mV. JCCC_Ex. A-2, 110-120 (p. 118); see also Ex. 19, JA0824

 (¶ 23), JA0835 (Example 5); Ex. 20, JA0888-889 (Examples B-1 and B-2). To suggest in that

 context, as CMC does, that claim 26 means that the total PPC following aminosilane

 supplementation can be 13 mV—less than half the PPC disclosed in the prior art—strains credulity.

        The prosecution history confirms the claimed minimum PPC necessarily results from the

 internally incorporated chemical species. See Fenner, 778 F.3d at 1325; Biovail Corp. Int'l v.

 Andrx Pharms., Inc., 239 F.3d 1297, 1301 (Fed. Cir. 2001). The originally filed provisional

 application included broad claims to particles containing internal nitrogen or phosphorus species

 with no PPC limitation (claim 2) and others, such as claims 7, 8, and 9, claiming minimum PPC

 of 8, 10, or 13 mV, respectively. JCCC_Ex. A-2, 21(¶33), 56-57. Lower PPC minima are also

 included in the later filed non-provisional specification, where particles with internal charge as

 low as 13 or 10 mV prior to aminosilane coating are described. JCCC_Ex. A-1, 7:62-64.

        Upon filing the non-provisional application leading to the ’721 patent, Plaintiff abandoned

 claims to the use of particles with internal nitrogen species but no PPC limitation and those with




 19
    Contrary to what Plaintiff argues (§III.C.1.b.i_pgs.38-39), DuPont’s construction does not
  ignore that an externally bonded aminosilane can provide additional PPC. Rather, DuPont’s
  construction simply identifies the internal chemical species as the source of the minimum 13 or
  15 mV PPC required by the claims and described in the specification and prosecution history.
                                                48
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 58 of 90 PageID #: 10299




 with intnernal nitrogen species and PPC as low as 10 mV in favor of narrower claims requiring

 PPC of at least 13 mV for particles with internal nitrogren species prior to aminosilane coating.

 See JCCC_Ex. A-2, 10-62 (pgs. 48-60), 85-99 (pgs. 87-94). That pattern of initially disclosing and

 claiming more broadly but then claiming more narrowly reflects a dedication to the public of the

 broader unclaimed subject matter. See Schriber-Schroth Co. v. Cleveland Tr. Co., 311 U.S. 211,

 218 (1940) (holding that claims “are to be read in the light of those abandoned and an abandoned

 claim cannot be revived and restored to the patent by reading it by construction into the claims

 which are allowed”); see also Nite Glow Idus., Inc. v. Central Garden & Pet Co., 2020-1897,

 2020-1983, 2021 WL 2945556 (Fed. Cir. Jul. 14, 2012) (citing Schriber-Schroth and affirming

 that claim re-written to recite “rubber” disavowed coverage of “plastic”); Sage Prods., Inc. v.

 Devon Indus., Inc., 126 F.3d 1420 (Fed. Cir. 1997) (“between [] patentee who had [] clear

 opportunity to negotiate broader claims but did not do so, and the public...[] patentee [] must bear

 the cost of its failure to seek protection for []foreseeable alteration[s] of its claimed structure”).

         Beyond the foregoing, and as discussed for Term 2 above, the ’721 Patent claims were

 rejected over Fu. JCCC_Ex. A-2, 95, 136 (¶ 17). In response, Plaintiff admitted that “Fu teaches a

 CMP composition including colloidal silica particles having a permanent positive charge of at least

 6 mv” but distinguished its alleged invention as being based on “forming the colloidal silica

 abrasive particles having a positive charge by incorporating a chemical species internal to the

 outer surface thereof.” JCCC_Ex. A-2, 95 Wi-LAN USA, Inc. v. Apple Inc., 830 F.3d 1374, 1390

 (Fed. Cir. 2016) (“A patentee cannot make representations about claim language during

 prosecution to avoid prior art and then escape these representations when trying to show

 infringement.”).




                                                    49
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 59 of 90 PageID #: 10300




        The extrinsic evidence also supports that the claimed minimum PPC must result from the

 one or more internal chemical species. According to named inventor Dr. Dysard, his “aha” moment

 was:




 Ex. 8, JA0473-474; AbbVie Inc. v. Mathilda & Terence Kennedy Inst. Of Rheumatology Tr., 764

 F.3d 1366, 1377 (Fed. Cir. 2014) (affirming construction supported by inventor’s testimony

 consistent with intrinsic evidence).

        At bottom, the overwhelming weight of the intrinsic evidence, confirmed by relevant

 extrinsic evidence, supports DuPont’s construction that the claimed minimum PPC must be a result

 of the one or more internal chemical species.

                                ii.     Plaintiff’s proposed construction contradicts both
                                        intrinsic and extrinsic evidence.

        Cherry-picking excerpts from the specification and the ALJ’s ITC opinion, Plaintiff

 contends that the claimed minimum PPC can be result from unclaimed structures including

 externally bonded aminosilane that “Claim 1 does not separately require.” §III.C.1.b.i_pg.38. This

 construction would allow for incorporation of only trace amounts of internal nitrogen-species—

 having no function—with minimum PPC supplied entirely by the prior art aminosilane surface

 treatments. Ex. 21, JA0894-0898, 165:6-14 (Plaintiff’s expert testifying that

                                                              ). This is irreconcilable with claim 1,

 where the only source for the “permanent positive charge of at least 15 or mV” is the previously

 recited chemical species incorporated within the colloidal silica particle.




                                                  50
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 60 of 90 PageID #: 10301




          Plaintiff’s construction is also irreconcilable with the prior art problems addressed by the

 alleged invention. Distinguishing positively charged, externally treated prior art particles, the

 specification represents:

                 One aspect of the invention is the realization that positively charged
                 colloidal silica abrasive particles may alternatively be obtained via
                 incorporating certain positively charged chemical species into the
                 abrasive particles (i.e., . . .in the interior of the particles).

 JCCC_Ex. A-1, 5:3-26. The patent’s distinction is entirely lost under Plaintiff’s construction,

 where the charge need not be “alternatively [] obtained” by internally incorporated chemical

 species. Tech. Patents LLC v. T-Mobile (UK) Ltd., 700 F.3d 482, 494 (Fed. Cir. 2012) (rejecting

 broader construction as contrary “to the heart of the invention’s alleged improvement over the

 prior art”); KEYnetik, Inc. v. Samsung Elecs. Co., 837 F. App’x 786, 792-93 (Fed. Cir. 2020)

 (Rejecting claim construction that would “eviscerate the stated purpose of the claimed

 invention.”); see also Spectrum Intern., Inc. v. Sterilite Corp., 164 F.3d 1372, 1378-79 (Fed. Cir.

 1998).

          Plaintiff makes much of the language in claim 26 that additionally requires an aminosilane

 bonded to the outer surface of the colloidal silica abrasive particles. Claim 26, however, does not

 attribute the claimed minimum PPC to the combination of internally incorporated species and an

 external coating, and does not divorce the internal chemical species from its minimum PPC

 function. See supra, §III.C.2.b.i. Nor can claim 26 be used to compel a construction of the PPC

 limitation inconsistent with its usage in claim 1. Rexnord Corp., 274 F.3d at 1342.

          As reflected in Plaintiff’s own prior patent distinguished in the ’721 specification,

 completely different linguistic constructs are used to attribute charge to a particle following an

 external coating. See JCCC_Ex. A-2, 119 (U.S. Patent No. 7,994,057) (Claim 4, “The polishing

 composition of claim 1, wherein the colloidal silica particles having a surface which has been


                                                  51
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 61 of 90 PageID #: 10302




 treated with the aminosilane compound have a zeta potential of 5 mV or greater.”); JCCC_Ex.

 A-1, 5:3-5 (citing U.S. Patent No. 7,994,057). Plaintiff thus knew how to attribute ZP to a particle’s

 external treatment but chose not to here.

        Plaintiff also argues that requiring claimed minimum PPC to result from the internally

 incorporated chemical species would improperly exclude one sub-example, compositions 15D-G,

 where “the colloidal silica particles had a zeta potential of 10 or fewer mV before surface

 treatment.” §III.C.1.b.i_pg.40; JCCC_Ex. A-1, 7:62-67. That patents may disclose some

 unclaimed embodiments is neither unusual nor material to a proper claim construction. TIP Sys.,

 LLC v. Phillips & Brooks/Gladwin, Inc., 529 F.3d 1364, 1373 (Fed. Cir. 2008) (“The mere fact

 that there is an alternative embodiment disclosed in the [asserted patent] that is not encompassed

 by [our] claim construction does not outweigh the language of the claim, especially when the

 court's construction is supported by the intrinsic evidence.”). GE Lighting Sols., LLC v. AgiLight,

 Inc., cited by Plaintiff (§III.C.1.b.i_pg.40), is inapposite as the construction rejected there would

 have “exclude[d] the specification's only disclosed embodiment.” 750 F.3d 1304, 1311 (Fed. Cir.

 2014). Indeed, as noted below, there are numerous unclaimed embodiments disclosed in the ’721

 patent, and good reasons apparent from the extrinsic evidence why they should not have been

 claimed.

        The consistent extrinsic evidence relates principally to the fact that the prior art imposed

 substantial limits on what Plaintiff was entitled to claim. The inventors’ initial litigation position

 was that the invention lay in putting the positive charge inside the particle rather than on the

 outside, as was customary in the art. Ex. 8, JA0473-474. But Fuso was already making and selling

 such particles, including “HL” and “BS” particles, and promoting them to slurry manufacturers




                                                  52
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 62 of 90 PageID #: 10303




 including      Plaintiff             . Ex. 22, JA0917; Ex. 23, JA0945-0981; Ex. 24, JA0994; Ex.

 25, JA1011-1080.

        Fuso actually made a number of the particles with internal charge described in the patent,

 including



                                                                        . Ex. 26, JA1095; Ex. 27,

 JA1108-1112 (46:8-11, 68:19-69:2). Plaintiff drafted claims 1 and 26 with a minimum PPC

 threshold of 13 mV, excluding anticipation by the Fuso-supplied compositions

                               particles that have ZPs less than 13 mV, as shown below.




 Ex. 26, JA1095 (annotations added); JCCC_Ex. A-1, 15 (Table 2) (annotations added). Thus,

 Plaintiff’s contention regarding exclusion of disclosed embodiments initially falters on the fact,

 apparent from the patent text, that many disclosed examples are not claimed in the ’721 patent.

        As it had for Example 2 (JCCC_Ex. A-1 20:26-21:35),




                                                 53
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 63 of 90 PageID #: 10304




 Plaintiff’s limitation of all its claims to use of particles with an internal charge of greater than 13

 mV prior to any coating excluded anticipation by these commercial scale Fuso BS-2H particles, 20

                                                                               . Ex. 32, JA33, JA1267-

 1280; Ex. 33, 107:7-109:6, 134:10-18 (                                             ); Ex. 34, JA1303,

 1316, 1322. See Gentex Corp. v. Donnelly Corp., 69 F.3d 527, 530 (Fed. Cir. 1995) (holding

 construction of “solution-phase” to properly exclude “solid films” where, inter alia, the inventor

 testified “he did not intend to include solid film”). Moreover, Plaintiff had agreed that Fuso’s




 20
   Plaintiff had disclosed BH-2H “marketed by Fuso” as “suitable colloidal silica” particles in
  another contemporaneous patent application and
              prior to 2015, belying any notion that these particles were not on sale and in the prior
  art. Ex. 25, JA 1077, 1079; Ex. 35, JA1329 [¶15].
                                                   54
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 64 of 90 PageID #: 10305




 Ex. 28, JA1117-1118. Although Plaintiff did not disclose these prior art Fuso particles during

 prosecution,                                                                              . In this

 context, these prior art Fuso particles are relevant in assessing claim scope. Harris Corp. v. IXYS

 Corp., 114 F.3d 1149, 1153 (Fed. Cir. 1997) (rejecting patentee’s proposed claim construction

 because it would read on the prior art).

         Adoption of the same claim format for claims 1 and 26, that required the PPC of at least

 13 mV to come from the internal nitrogen compound, also kept both claims from anticipation by

                                                           . And that is

                               (patent data below, right), belatedly added to the disclosure a year

 after the original filing.




                                                 55
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 65 of 90 PageID #: 10306




 Ex. 31, JA1215-1216 (annotations added); JCCC_Ex. A-1, 21 (Tables 15A & 15B) (annotations

 added); see also Ex. 29, JA1153, 1155, 1162; Ex. 30, JA1200. Such particles as described in

 Examples 15D-G are rightly excluded from appropriation by Plaintiff.

        By urging here that the claimed minimum PPC is not the result of the internal species,

 Plaintiff seeks to sweep back into the scope of the claims use of aminosilane coated

 particles it previously agreed it did not invent. To the extent those examples were “inventive

 compositions,” they were the invention of Fuso and excluded from the narrowed claims Plaintiff

 presented in its non-provisional applications.

        In sum, the construction that Plaintiff now argues for is inconsistent with the narrowed

 claims it actually drafted and obtained. No argument justifies broadening the claims to allow for

 the claimed minimum PPC to come from surface treatments disclosed in the prior art. The Court

 should adopt DuPont’s proposed construction, which is in harmony with the words of the claims,

 disclosure in the specification, prosecution history, and the consistent extrinsic evidence.




                                                  56
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 66 of 90 PageID #: 10307




                3. CMC’s Reply Position

        DuPont (1) alters the patentee’s undisputed lexicography of PPC; and (2) imports a

 functional limitation found nowhere in the specification to require that the claimed PPC “results

 from” only one source of PPC, while ignoring other sources expressly recited in the claims and

 specification. Both positions directly contradict Federal Circuit precedent.

        DuPont also ignores the third issue raised by CMC, that the PPC should be measured for

 the group of particles in the polishing composition, as claimed. §III.C.1.b.ii_pgs.40-41. At the

 ITC DuPont claimed this was a matter of claim construction (Ex.1_JA0077-79), but having lost

 its claim construction argument DuPont has changed its tune and says it relates only to

 infringement. §III.C.2_pgs.42-43. Its relevance to infringement is exactly why construction is

 necessary. O2 Micro, 521 F.3d at 1361-62. DuPont manufactured a particle-by-particle non-

 infringement position (§III.C.1.b.ii_pg.41) and cannot sidestep the claim construction that would

 resolve it. The claims recite PPC for a group of particles; DuPont’s particle-by-particle theory is

 wrong. Id.

                            a. DuPont’s construction of “permanent positive charge”
                               contradicts the specification

        DuPont agrees that PPC is a new term that the patentees expressly defined.

 §III.C.2.a_pg.43. But DuPont commits two legal errors to broaden the term.

        First, DuPont entirely omits the three-step filtration test in the express definition of PPC.

 §III.C.2.a_pgs.43-44. This test is not optional—it is the core of the definition:

        “Notwithstanding, as used herein, a permanent positive charge of at least 6 mV
        means that the zeta potential of the colloidal silica particles remains above 6 mV
        after the following three step filtration test…”.

 JCCC_Ex.A-1 (Patent) at 11:14-31. Federal Circuit case law requires that express definitions be

 followed. §III.C.1.a_pg.36 (citing Braintree Labs, 749 F.3d at 1356).


                                                  57
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 67 of 90 PageID #: 10308




        DuPont has no basis to ignore the full definition, and DuPont feigns confusion about

 CMC’s “note.” §III.C.2.a_pg.44. But the “note” just recites the “following three step filtration

 test” from the patent. JCCC_Ex.A at 5-6. 21 Whether or not called a “note,” the substance is the

 same—the patentees required the three-step filtration test for measuring PPC. §III.C.1.a_pg.36-

 37.

        DuPont also argues that, because the three-step test is defined with an exemplary PPC of 6

 mV, the test itself is exemplary. §III.C.2.a_pgs.44-45. This distorts the example, which does not

 change the definitional nature of the statement: “as used herein, a permanent positive charge of at

 least 6 mV means that the zeta potential of the colloidal silica particles remains above 6 mV after

 the following three step filtration test.” JCCC_Ex.A-1 (Patent) at 11:14-31. Any POSA would

 have understood that to achieve a PPC of any level (6 mV or otherwise) it must result in a zeta

 potential of that level after the three-step test. Id. In this regard, Silicon Graphics, which dealt

 with a feature in “one embodiment” rather than a definitional statement, has no relevance. 22

 §III.C.2.a_pg.44; Silicon Graphics, 607 F.3d at 792-93. When definitional language is used—as

 it is here—lexicography governs. Phillips, 415, F.3d at 1316; Braintree Labs, 749 F.3d at 1356.

        DuPont also argues that application of the three-step test in Example 10B justifies ignoring

 the patentees’ lexicography. §III.C.2.a_pgs.44-45. But Example 10B specifically applies the

 definitional test to measure exemplary compositions. JCCC_Ex.A-1 (Patent) at 11:30-31, 27:63-

 28:12, 28:28-32.     DuPont asserts that Example 10B “implements the test differently.”

 §III.C.2.a_pg.44. But the difference DuPont alleges—ionic strength correction—supplements but




 21
    DuPont uses “notes,” too. Ex.1_JA0058 (ID); JCCC_Ex.A_pg.3.
 22
    Silicon Graphics construed multiple terms. CMC’s Term 2 Reply Position cites construction of
  the term “a rasterization process….” DuPont’s Answering Position cites the construction of
  “S10e5.”
                                                 58
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 68 of 90 PageID #: 10309




 does not alter the triple filtration requirement defined by the inventors. JCCC_Ex.A-1 (Patent) at

 28:28-45; see also id. at 11:56-61. That is clear from the specification, which states expressly that

 Example 10B illustrates application of “[t]his three step filtration” test. Id. at 11:30-31.

        DuPont similarly argues to ignore the definitional three-step filtration test because the

 patent provides examples for the volume of polishing composition to test (e.g., 200 ml) and the

 ultrafiltration disk to use (e.g., one having a MW cutoff of 100,000 Daltons). §III.C.2.a_pgs.44-

 45. But these examples are not relevant to (and do not change) the required, definitional three-

 step filtration test. DuPont certainly cannot argue that use of the abbreviation “e.g.” for the volume

 and filtration disk examples undermines the patentees’ definition, as DuPont’s own construction

 does the same (“for example”). Unsurprisingly, DuPont cites no law that would support such a

 conclusion. §III.C.2.a_pgs.43-45.

        Second, DuPont changes the patentees’ definition of PPC by replacing the term “positive

 charge” with the term “positive zeta potential.” §III.C.2.a_pg.43 (citing JCCC_Ex.A-1 (Patent) at

 11:4-6). DuPont argues that the patentees’ lexicography should be altered to include a portion of

 a background section explaining that “charge” is “commonly referred to in the art as zeta

 potential.”   JCCC_Ex.A-1 (Patent) at 10:38-42.         But “a definition of a claim term in the

 specification will prevail over a term’s ordinary meaning if the patentee has acted as his own

 lexicographer.” 3M Innovative Properties Co. v. Avery Dennison Corp., 350 F.3d 1365, 1371

 (Fed. Cir. 2003). Here the patentees defined PPC as “positive charge” not “positive zeta potential,”

 as DuPont concedes. §III.C.2.a_pg.43 (citing JCCC_Ex.A-1 (Patent) at 11:4-6). That definition

 controls. Phillips, 415 F.3d at 1316.

        DuPont’s reliance on extrinsic evidence also fails. DuPont cites its expert to argue that,

 despite use of “charge” in the express definition, the units of PPC (mV) must refer to zeta potential,



                                                   59
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 69 of 90 PageID #: 10310




 not charge. §III.C.2.a_pgs.43-44. But DuPont ignores that the definition of PPC is not a

 measurement of just any mV, but a measurement of mV after a triple filtration test designed by

 the inventors to reflect permanent charge on the particle, rather than zeta potential. JCCC_Ex.A-

 1 (Patent) at 11:14-31. Swapping out “zeta potential” for “charge” disregards the patentee’s

 lexicography, without any basis for doing so. Phillips, 415, F.3d at 1316.

                              b. DuPont’s insertion of the phrase “results from” into the
                                 patentee’s definition has no support

        The second part of DuPont’s proposal imports into both claims 1 and 26 an unrecited

 functional limitation—that the PPC must “result from” the internal chemical species only

 (underlined in red below).




 §III.C.2_pg.42.

        This new limitation in fact contradicts express claim language. As shown below, claim 26

 recites (a) an internal chemical species; (b) an aminosilane bonded to the outer surface of the

 particles; and (c) a PPC greater than 13 mV.




                                                60
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 70 of 90 PageID #: 10311




 DuPont concedes that both (a) and (b) can contribute to a PPC greater than 13 mV. Ex.41_JA1457

 (DuPont 1204 PostHB). Nonetheless, DuPont’s construction would require all of the PPC of 13

 (or 15) mV to result only from the internal chemical species and exclude any contribution to PPC

 from the expressly recited externally bonded aminosilane. A construction that intentionally

 ignores claim limitations is not correct. Vederi, LLC v. Google, Inc., 744 F.3d 1376, 1383 (Fed.

 Cir. 2014) (construction “effectively reading [term] out the claims [sic]” was error).

        Nothing in the specification supports this rewriting of the claims. The PPC test requires

 particles to be measured as they exist in a composition—thereby accounting for the impact of any

 internal chemical species and any externally bonded species. JCCC_Ex.A-1 at 11:17-18 (PPC test

 measures the “polishing composition”); see also Ex.13_JA0569-70 (CMC ITC Expert Testimony).

 DuPont’s construction splits up the particle and measures the internal portions but not the external

 portions—an impossible task the patentees never contemplated let alone described.             Even

 DuPont’s experts do not agree with this contorted interpretation. See, e.g., Ex.44_JA1500 (DuPont

 ITC Expert Hearing Testimony) (“[W]hen the particle has both internal …species and surface

 treatment, the …measurements cannot be attributable to only the internal chemical species.”).




                                                 61
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 71 of 90 PageID #: 10312




        The overwhelming intrinsic records supports CMC. §III.C.1.b_pgs.37-41. DuPont’s entire

 position, on the other hand, appears based on misapplied Federal Circuit law, its own theory of

 what is “meaningful,” incomplete citations, and a hodgepodge of extrinsic material.

 §III.C.2.b.i_pgs.45-50. None of that justifies departing from the claim. Phillips, 415 F.3d at 1317.

                                i.     DuPont ignores the claim language

        DuPont’s arguments regarding the claim language turns claim construction law on its head.

        For example, DuPont argues that because PPC appears in a wherein clause, it is proper to

 import this phrase to tie PPC to the internal chemical species. §III.C.2.b.i_pg.45. This leap of

 logic is legally incorrect. Alere and K2, cited by DuPont, state that a wherein clause can contain

 functional language but certainly do not condone importing functional language (or any language)

 that changes the claim. Alere, 791 Fed. App’x at 176-77; K-2 Corp., 191 F.3d at 1362-63. Here

 the wherein clause is not functional. But even if it were, DuPont has no basis (and cites none) to

 selectively tie the claimed PPC to the claimed internal chemical species while ignoring the PPC

 contribution of externally bonded aminosilane.

        DuPont also tries to limit the asserted composition claims to a specific order in which

 external aminosilane is applied “later” after PPC measurement. §III.C.2.b.i_pg.47 (superimposed

 red line). But a composition is a mixture, not a recipe or set of ordered steps. Exxon Chem. Patents,

 Inc. v. Lubrizol Corp., 64 F.3d 1553, 1557-58 (Fed. Cir. 1995) (“Exxon claims a product, not

 merely a recipe for making whatever product results from the use of the recipe ingredients. This

 conclusion respects that which is claimed, namely a chemical composition.”); Baldwin Graphic

 Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1344 (Fed. Cir. 2008) (“Courts must generally take care

 to avoid reading process limitations into an apparatus claim because the process by which a product

 is made is irrelevant to the question of whether that product infringes a pure apparatus claim.”)

 (citations omitted). The order of the words does not allow DuPont to import a limitation into the
                                                  62
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 72 of 90 PageID #: 10313




 claim. Alere, 791 F. App’x at 177 (for apparatus, “the claim language does not create a process

 limitation”).

        Finally, DuPont argues that because claim 1 does not expressly recite external aminosilane,

 the express recitation of external aminosilane in claim 26 should just be ignored, and the PPC in

 both claims should exclude any contribution from external aminosilane. §III.C.2.b.ii_pgs.50-51.

 DuPont unsurprisingly cites no authority for this position. Claim 1 is a comprising claim—it does

 not exclude any unrecited limitations. Crystal Semiconductor, 246 F.3d at 1348. Just like claim

 26, it could be practiced by any particles that have PPC greater than the threshold, including those

 with external aminosilane, as long as the recited limitations are met.

                               ii.      DuPont ignores the specification

        DuPont also cites no specification support for its position, instead resorting to nebulous

 characterizations of the invention’s purpose that contradict the ’721 Patent’s disclosure.

        For example, DuPont argues because the ’721 Patent discloses that the inventors were the

 first to realize the benefit of internal chemical species, that means all the PPC has to come from

 an internal chemical species, and none can result from externally bonded aminosilane.

 §III.C.2.b.i_pg.46. But claims 1 and 26 already explicitly require that the composition include the

 innovation of internal chemical species. Nothing in the patent requires that internal chemical

 species be the sole source of PPC to achieve the claimed threshold. DuPont contends column 7:56-

 8:3 shows contributions from surface treatment do not count towards the claimed PPC

 (§III.C.2.b.i_pgs.46-47), but column 7 says precisely the opposite—that PPC from internal

 chemical species can be less than the claimed cutoffs of 15 or 13 mV “prior to the surface

 treatment.” JCCC_Ex.A-1 at 7:56-8:3; §III.C.1.b.i_pgs.38-40.        That is a key benefit of the

 invention—if particles have internal chemical species with a PPC, even if less than the threshold,



                                                 63
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 73 of 90 PageID #: 10314




 then less externally bonded aminosilane is needed to exceed the claimed cutoff, leading to better

 polishing performance. JCCC_Ex.A-1 at 7:56-8:3; §III.C.1.b.i_pg.39.

        DuPont also asks the Court to change the claim because the functional limitation is an

 “essential feature[]” of the invention. §III.C.2.b.i_pgs.45-46. But that is precisely what the

 Federal Circuit has said not to do. Golight, Inc. v. Wal-Mart Stores, Inc., 355 F.3d 1327, 1331

 (Fed. Cir. 2004) (not “all…features described as significant or important” are claimed); E–Pass

 Techs., Inc. v. 3Com Corp., 343 F.3d 1364, 1370 (Fed. Cir. 2003) (“no requirement that every

 claim…encompass all” features).

        In any event, the patent does not describe PPC resulting only from internal chemical species

 as an “essential feature” or “purpose” of the invention. DuPont cites a portion of the summary of

 the invention describing “incorporating internal chemical species ‘such that the colloidal silica

 abrasive particles have a positive charge of at least 15 mV’” (§III.C.2.b.i_pg.46) but ignores the

 rest, which states the opposite—that PPC can further result from externally bonded aminosilane:

 “particles may further include an aminosilane compound bonded with the outer surface thereof

 such that the colloidal silica abrasive particles have a permanent positive charge of at least 13

 mV.” JCCC_Ex.A-1 at 2:32-35. Likewise, DuPont points to a description of PPC that “may be the

 result of” internal chemical species (e.g., §III.C.2.b.i_pg.46 (citing JCCC_Ex.A-1 at 11:6-8)), but

 ignores the very next sentence that describes that the PPC “may further result from a covalent

 interaction” with the particle surface (i.e., surface treatment). JCCC_Ex.A-1 at 11:8-10.

        DuPont similarly distorts Example 15 to argue this example is not claimed.

 §III.C.2.b.ii_pg.52. But Example 15 tracks claim 26—it includes particles with (a) internal

 chemical species; (b) externally bonded aminosilane; and (c) a PPC higher than 13 mV.

 §III.C.1.b.i_pgs.38-40. DuPont’s construction contradicts the specification and excludes this



                                                 64
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 74 of 90 PageID #: 10315




 embodiment. GE Lighting, 750 F.3d at 1311 (“[W]here claims can reasonably [be] interpreted to

 include a specific embodiment, it is incorrect to construe the claims to exclude that embodiment,

 absent probative evidence on the contrary.”); MBO Lab’ys, Inc. v. Becton, Dickinson & Co., 474

 F.3d 1323, 1333 (Fed. Cir. 2007) (“construction impermissibly excludes these embodiments”).

                                iii.     DuPont’s prosecution history arguments are irrelevant

        The prosecution history likewise does not support rewriting the claims. DuPont’s

 contention regarding alleged “abandoned claims” is nonsensical. The claims DuPont contends

 were “dedicate[ed] to the public” did not require PPC that “results from” internal species alone,

 nor did the patentee distinguish its invention from the prior art based on such a feature. Rather,

 in distinguishing Fu the patentee simply stated that the patent “provide(s) multiple strategies for

 forming…particles having a positive charge by incorporating a chemical species internal to the

 outer surface,” not that the claims require all PPC to “result from” internal species as DuPont

 contends. JCCC_Ex.A-2_pg.95; see also Thorner, 669 F.3d at 1367.

                                iv.      DuPont’s extrinsic evidence also supports CMC’s
                                         construction

        The extrinsic material also supports CMC, not DuPont. For example, DuPont cites

 inventor testimony describing the innovation of internal chemical species. §III.C.2.b.i_pg.50. But

 this testimony does not help DuPont—the inventors consistently described the combination of

 internal and external charge as a key improvement. E.g., Ex.9_JA0485 (Inventor ITC Testimony)

 (

         ); Ex.42_JA1472-73 (Inventor ITC Deposition) (



                                       ); Ex.43_JA1484-85 (Inventor ITC Deposition) (

                                                                ). This testimony also demonstrates


                                                  65
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 75 of 90 PageID #: 10316




 the flaw in DuPont’s logic that because prior art particles had only external aminosilane, it

 somehow limits the claims to particles with only internal chemical species. 23 §III.C.2.b.ii_pgs.51-

 52. The claims do not cover particles with only external aminosilane but do clearly cover the

 inventive boost of having internal chemical species and external aminosilane, as the inventors

 described. §III.C.1.a_pgs.36-38.

        DuPont also mischaracterizes CMC’s expert, who did not testify that the claims cover

 particles having only

      . §III.C.2.b.ii_pg.50. CMC’s expert said the opposite—that

                                                                     . Ex.45_JA1514 (CMC Expert

 ITC Hearing Testimony).

        Finally, DuPont cites a slew of technical documents that allegedly show that the inventors

 secretly intended to limit the claims to require PPC to “result from” only internal chemical species

 (despite it being unrecited) to avoid allegedly prior art Fuso particles. §III.C.2.b.ii_pgs.52-56.

 First, DuPont’s unsupported speculation about the inventors’ secret “inten[t]” is not evidence at

 all—extrinsic or intrinsic. Id. pg.54 (purporting to infer inventor intent based on irrelevant

 documents and testimony excerpts). Second, the claims are not ambiguous and DuPont does not

 assert otherwise; “[t]he doctrine of construing claims to preserve their validity…has no

 applicability here.” Phillips, 415 F.3d at 1327-28. Third, the specific BS-2H, HL, PL-3C, and

 PL-5C particles DuPont identifies are not prior art to the ’721 Patent at all. Ex.40_JA1393-1444

 (Validity Contentions) (showing same are not prior art).




 23
    CMC’s U.S. Patent No. 7,994,057 does not support DuPont’s “results from” construction for at
  least this reason. §III.C.2.b.i-ii_pgs.48,51-52.
                                                 66
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 76 of 90 PageID #: 10317




        Ultimately, the Court need not wade through DuPont’s speculative and unsupported

 arguments relating to hundreds of pages of inventor testimony and technical documentation (about

 which DuPont does not even seek to present live testimony) because the proper claim construction

 is clear from the intrinsic evidence, all of which supports CMC.




                                                67
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 77 of 90 PageID #: 10318




                4. Defendants’ Sur-Reply Position

                           a. “Permanent Positive Charge” and “Charge”

        DuPont’s proposed construction recapitulates the patent’s express definitions for

 “permanent positive charge” and “charge.” See JCCC_Ex.A-1, 10:38-42 (defining “charge” for

 PPC), 11:4-6 (defining “permanent positive charge”). Plaintiff’s narrowing construction “note”

 incorporating an exemplary 6-mV “three-step filtration” embodiment is wrong for multiple

 reasons. §III.C.3.a_pgs.57-59 (6 mV test “is the core of the definition”).

        First, Plaintiff fails to rebut that the relied-upon embodiment is specific to 6 mV PPC and

 that exemplary embodiments should not be imported into the claims. Compare JCCC_Ex.A-1,

 11:4-6 with 11:14-31; §III.C.2; see also Silicon Graphics, 607 F.3d at 792-93. Plaintiff’s attorney

 argument that the embodiment is definitional for PPC as a whole is contradicted by the patent only

 specifying it for determining “a [PPC] of at least 6 mV.” §III.C.3.a_pg.58; JCCC_Ex.A-1, 11:14-

 17; Mosaic Brands, Inc. v. Ridge Wallet LLC, 55 F.4th 1354, 1362 (Fed. Cir. 2022) (rejecting

 attorney argument regarding claim construction).

        Second, as has been explained (§III.C.2.a_pgs.44-45), Term 3 becomes unworkable under

 Plaintiff’s construction. See Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 904

 F.3d 965, 972 (Fed. Cir. 2018) (rejecting construction that would “impermissibly render the claims

 inoperable”). For instance, Example 10—referenced but not included in Plaintiff’s construction—

 employed ionic strength adjustments not mentioned in the “note” that significantly altered PPC

 from 56 to 41 mV. JCCC_Ex.A-1, 28:1-56 (see composition 10B). It would be at best ambiguous

 whether the jury would need to read-in specifics from Example 10 to apply Plaintiff’s construction.

        As for “charge,” Plaintiff ignores (§III.C.3.a_pg.59) the patent’s definition of “charge” in

 PPC as what “is commonly referred to in the art as the zeta potential.” JCCC_Ex.A-1, 10:38-42;

 §III.C.2.a_pg.43. Nor does Plaintiff dispute that “charge” is measured in coulombs while “zeta

                                                 68
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 78 of 90 PageID #: 10319




 potential” is measured in mV (§III.C.2.a_pgs.43-44; JCCC_Ex.A-1, 28:12-56). Yet Plaintiff

 would nonetheless require literally measuring particle “charge” as opposed to zeta potential,

 something done nowhere in the patent.

        Finally, without citation to arguments made by DuPont (instead citing to the ALJ’s non-

 binding opinion), Plaintiff accuses DuPont of requiring separately measuring PPC for each of the

 millions of individual particles in a CMP slurry. §III.C.3_pg.57. DuPont has not so argued—

 instead properly noting in the context of Plaintiff’s defective infringement testing that “the

 colloidal silica abrasive particles have a [PPC] of at least” requires measuring PPC of “the colloidal

 silica abrasive particles” recited in the claim as opposed to the zeta potential                   —

 and its construction likewise does not so require. §III.C.2_pgs.42-43. The Court can ignore

 Plaintiff’s strawman.

                            b. PPC Threshold

        As explained (§III.C.2.b.i_pgs.45-50), the words and structure of the claims compel

 construing the minimum PPC threshold as resulting from the recited internal chemical species.

 Claim 1 cannot be meaningfully construed otherwise, as there is no other source for PPC. This

 applies equally to claim 26, which follows the identical structure through the PPC limitation, then

 reciting external aminosilane as a further limitation after the PPC limitation, requiring similar

 construction in both claims (id., pgs.46-48):




                                                  69
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 79 of 90 PageID #: 10320




 DuPont’s construction also effectuates the specification’s description of the alleged invention as

 an “alternative” to prior art particles having charge resulting from external aminosilane coating.

 JCCC_Ex.A-1, 5:3-10, 5:21-28; §III.C.2.b.i_pg.46. Plaintiff ignores this unambiguous

 “statement of the described invention’s purpose,” which “informs the proper construction of

 claim terms.” Kaken Pharm. Co., 952 F.3d at 1352.

         A proper construction “start[s] with the plain language of the claim.” Alere, 791 Fed. Appx.

 at 176. However, Plaintiff skips over claim 1, seeking to work backwards from claim 26 where it

 considers the final aminosilane limitation (what Plaintiff labels “b”) as somehow prior to PPC

 limitation (Plaintiff’s “c” limitation):




                                                 70
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 80 of 90 PageID #: 10321




 §III.C.3.b_pgs.60-61 (red highlights added). Plaintiff’s reconstruction contradicts the claim’s

 “grammatical structure and syntax,” which are instructive “in determining the true meaning of

 the language.” 24 Credle, 25 F.3d at 1571.

        Even leaving aside Plaintiff’s reconstruction, the external (“outer surface”) aminosilane

 according to claim 26 and the embodiment (JCCC_Ex.A-1, 7:62-67) cited by Plaintiff

 (§III.C.3.b.ii_pgs.63-65) do not support construing the claimed threshold PPC as resulting from

 other than the claimed internal chemical species. §III.C.2.b.i_pgs.45-48; §III.C.2.b.ii_pgs.51-56.

 The specification instead makes clear that in embodiments corresponding to claim 26 the threshold

 PPC necessarily results from the internal chemical species because the lower positive charge is

 expressly of “the particles prior to the surface treatment.” JCCC_Ex.A-1, 7:56-64. The

 specification further distinguishes prior art particles relying on charge from surface-coated

 aminosilane from its alleged invention being “alternatively” moving the charge to the inside of the

 particles. Id., 5:21-24. Construing the threshold PPC to result from external aminosilane would be

 no “alternative[]” whatsoever. Tech. Patents, 700 F.3d at 494 (rejecting broader construction as

 contrary “to the heart of the invention’s alleged improvement over the prior art”). Contrary to

 Plaintiff’s contentions that “DuPont ignores the specification” by reading out an embodiment,

 DuPont demonstrated how Plaintiff narrowed its provisional claims to avoid certain undisclosed

 Fuso particles and consequently excluded embodiments. §III.C.3.b.ii_pg.63; §III.C.2.b.i_pgs.45-

 48; §III.C.2.b.ii_pgs.51-56; JCCC_Ex.A-2_pg.21(¶33),48-49; JCCC_Ex.A-1, 7:62-64. Plaintiff




 24
    Recognizing that the PPC “wherein” clause “includes functional language that informs us of the
  structural requirements of the claim,” (Alere, 791 Fed. Appx. at 177), is distinct from importing
  “a recipe or set of ordered steps,” as Plaintiff alleges. §III.C.3.b.i_pg.62. Exxon, cited by Plaintiff
  (id.), addressed whether a composition claim covered the product or a recipe of making the
  product and is inapposite. 64 F.3d at 1557-58.
                                                   71
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 81 of 90 PageID #: 10322




 did not substantively respond, beyond manufacturing non-existent and non-responsive disputes on

 “intent” and “preserv[ing] validity.” §III.C.3.b.iv_pgs.55-56.

        Plaintiff’s working backwards from claim 26 to modify claim 1 is further contrary to the

 prosecution history, including the provisional application. See Trs. of Columbia Univ. in New York

 v. Symantec Corp., 811 F.3d 1359, 1365 (Fed. Cir. 2016) (relying on provisional application for

 claim construction). Claim 1 has its roots in claim 6 of the provisional application, which contained

 the same “wherein” PPC clause (with an 8-mV threshold). JCCC_Ex.A-2_pg.49. Like the issued

 patent, the provisional distinguished prior art surface treatments and described the invention as

 “alternatively… incorporating certain positively charged chemical species into the abrasive

 particles.” Compare JCCC_Ex.A-2_pgs.14-15 (¶¶15-16), with JCCC_Ex.A-1, 5:3-14. The

 provisional did not include an equivalent of claim 26 or the later embodiment at column 7:56.

 Thus, the “wherein the colloidal silica abrasive particles have a [PPC] of at least” clause in the

 issued patent and its provisional can only be construed as resulting from the incorporated chemical

 species, their common supporting disclosures providing no alternative. See Gentry Gallery, Inc. v.

 Berkline Corp., 134 F.3d 1473, 1480 (Fed. Cir. 1998) (holding that a claim “may be no broader

 than the supporting disclosure”).

        Plaintiff next argues the PPC “wherein clause is not functional” and accuses DuPont of

 “ignor[ing] the specification” in this regard. §III.C.3.b.i-ii_pgs.62-63. If Plaintiff’s attorney

 argument were correct—that is, the PPC limitation is not “functional language that informs us of

 the structural requirements of the claim,” (Alere, 791 Fed. App’x at 177-178)—the PPC limitation

 would have no patentable weight. See In re Kubin, 561 F.3d 1351, 1357 (Fed. Cir. 2009)

 (functional “wherein” clause given no patentable weight where “not an additional requirement

 imposed” on the claimed structure). This would be irreconcilable with the specification’s



                                                  72
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 82 of 90 PageID #: 10323




 description of the alleged invention and distinction over prior art. JCCC_Ex.A-1, 5:3-26. The

 absence of a functional requirement on the claimed structure would also contradict the prosecution

 history where (as Plaintiff appears to concede) it represented that its alleged invention entailed

 “particles having a positive charge by incorporating a chemical species internal to an outer

 surface.” JCCC_Ex.A-2_pg.95; §III.C.2.b.i_pgs.48-50; §III.C.3.b.iii_pg.65.

          Finally,   Plaintiff’s   cherry-picked   extrinsic   evidence     does    it    no   favors.

 §III.C.3.b.iv_pgs.65-66. Its inventor testimony is consistent with the threshold PPC resulting from

 the internal chemical species with additional charge due to external aminosilane. See, e.g., id.

 (citing Ex.42_JA1472-73 (

                                                                                                     ));

 Ex.43_JA1484-85 (describing implementing the invention with                                   )).

          Plaintiff’s ITC expert’s testimony that the internal chemical species must have a

                         on PPC is similarly unavailing. 25 §III.C.3.b.iv_pg.66; Ex.45_JA1514. It

 reinforces the functional nature of the limitation for which the internal chemical species remains

 the only possible source of PPC in the common structure of claims 1 and 26 and the only standard

 for the amount thereof. Plaintiff also never directly addresses the extrinsic evidence reflecting why

 Examples 2 and 15 are not claimed embodiments, specifically that they embodied what Plaintiff

 had agreed were pre-existing                                                            including

      particles it had                                                              —withheld from

 the USPTO—that were not Plaintiff’s invention. §III.C.2.b.ii_pgs.52-56; Ex.28_JA1117-18;

 §III.C.3.b.iv_pgs.65-67; Ex.46_JA1524-30 (showing BS-2H particles are prior art).



 25
   Plaintiff has not explained (and cannot explain) the scope of                   the meaning of
  which is per se indefinite. Halliburton Energy Servs., Inc. v. M-I LLC, 514 F.3d 1244, 1255-56
  (Fed. Cir. 2008) (affirming indefiniteness of “fragile gel” limitation).
                                                   73
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 83 of 90 PageID #: 10324




        At bottom, DuPont’s construction tracks the structure of the claims, the specification’s

 definitions and characterization of the alleged invention, and the prosecution history including the

 provisional application and Plaintiff’s arguments relied upon by the examiner. By contrast,

 Plaintiff expressly contradicts the words and structure of the claims and erases any possible

 distinction from, among other particles                             , the use of aminosilane coated

        particles it did not invent.




                                                 74
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 84 of 90 PageID #: 10325




        D.      TERM 4 (Claim 26):




                1. CMC’s Opening Position

        Term 4 is identical to Terms 2a and 2b. But DuPont proposes a separate construction for

 Term 4 “for claim 26 only,” in contrast to its proposal to construe Terms 2a, 2b, and 2c “as a

 whole.” See JCCC_Ex. A at 3, 9. The parties’ disputes for Term 4 (in claim 26) appear to be

 exactly the same as for Terms 2a and 2b (in claim 1). Indeed, in its Invalidity Contentions, DuPont

 does not separately address these elements in claim 26, but simply states “See, e.g., claim 1 above.”

 Ex.2_JA0345–46 (Invalidity Contentions). For Term 4 (claim 26), CMC proposes the same

 constructions for the same phrases in Terms 2a and 2b (Claim 1). Fin Control Sytems Pty, Ltd. v.

 OAM, Inc., 265 F.3d 1311, 1318 (Fed. Cir. 2001) (“[W]e begin with the presumption that the same

 terms appearing in different portions of the claims should be given the same meaning ….”).




                                                  75
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 85 of 90 PageID #: 10326




                2. Defendants’ Answering Position 26

        DuPont proposes this clause, as found in whole in claim 26, should be construed as a

 whole as:

                The colloidal silica abrasive particles contain within their outer surfaces
                one or more nitrogen or phosphorous containing compounds.
        DuPont’s construction is consistent with the intrinsic evidence, as discussed for Term 2

 above. It is necessary to construe Term 4 separately, however, as claim 26 does not include the

 Term 2 negative “wherein” limitation in claim 1. 27

                3. CMC’s Reply Position

        DuPont says its Term 4 construction “is consistent with the intrinsic evidence,” “discussed

 for Term 2 above.” §III.D.2_pg.76. However, DuPont does not discuss Term 4 (or the identical

 Terms 2a and 2b), except to acknowledge that its original construction was wrong. Id._n.27

 (revising construction). DuPont’s construction for Term 4 (and Terms 2a and 2b) makes numerous

 departures from the claim language, which DuPont cannot explain. §III.B.1_pgs.15-16;

 Id._§III.D.1_pg.75.

                4. Defendants’ Sur-Reply Position

         Plaintiff does not appear to dispute that the absence of the negative limitation in claim 26

 requires Term 4 to be construed separately from Term 2. See §III.D.2_pg.76; §III.D.3_pg.76.

 Rather, Plaintiff simply states, without explanation, that DuPont’s construction “makes

 numerous departures from the claim language.” §III.D.3_pg.76. Plaintiff’s unsupported position

 should be disregarded.



 26
     DuPont has clarified its construction to recite “nitrogen or phosphorous containing
  compounds.”
 27
    The absence of the negative “wherein” limitation in claim 26 also obviates Plaintiff’s arguments
  about excluding embodiments that contain both aminosilane and non-aminosilane chemical
  species. §III.D.1_pg.75; see supra §III.B.2.
                                                  76
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 86 of 90 PageID #: 10327




        E.      TERM 5 (Claim 26):




  CMC’s Construction                                 DuPont’s Construction
  Plain and ordinary meaning, i.e., “bonded with Plain and ordinary meaning, i.e., “bonded
  the outer surface of the colloidal silica abrasive with the outer surface of the colloidal silica
  particles”                                         abrasive particles”

  Note: CMC proposes a construction for the
  bolded language only.

                1. CMC’s Opening Position

        There is no dispute for this term. Both parties propose the plain and ordinary meaning.

 JCCC_Ex. A, pg. 11. The scope of “bonded with the outer surface” is unambiguous in view of the

 ’721 Patent’s specification and extrinsic evidence. JCCC_Ex. A-1 (’721 Patent) at 30:19–43

 (bonding with surface through growth process), 28:22–26 (surface treatment after particle is

 formed); Ex.13_JA0575 (CMC’s ITC Expert Testimony) (explaining that “bonded with the outer

 surface of the colloidal silica abrasive particles’ should have its plain and ordinary meaning and

 …[that] the words of the claim are understandable to one of ordinary skill in the art without further

 elaboration.”); Ex.1_JA0089 (ID) (adopting CMC’s plain and ordinary construction).

        However, DuPont requests that this term remain disputed “as the parties may not agree to

 what is the plain and ordinary meaning,” without clarifying what DuPont “may not agree to.”

 JCCC_Ex. A, pg. 11 n.2. But now is the time to disagree. 28 There is no need to construe terms

 absent a material dispute. Vivid Tech., 200 F.3d at 803 (Fed. Cir. 1999); see also Sciele Pharma,

 2011 WL 4351672 at *10.




 28
   DuPont’s non-infringement and invalidity contentions did not include any contention that a
  disputed issue depends on the construction of this term.
                                                  77
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 87 of 90 PageID #: 10328




                  2. Defendants’ Answering Position

        Defendants and Plaintiff both propose construction of Term 5 as “bonded with the outer

 surface of the colloidal silica abrasive particles.” Accordingly, the Court can give it this undisputed

 meaning.

            However, while Plaintiff states that “[t]he scope of ’bonded with the outer surface’ is

 unambiguous in view of the ’721 Patent’s specification and extrinsic evidence” it argues that Term

 5 “an aminosilane compound [] bonded with an outer surface” covers the Example 13 “colloidal

 silica particles having an outer silica shell containing the aminosilane.” See §III.E.1_pg.77;

 JCCC_Ex. A-1, 19 (Example 13) 30:33-37. This nonsensical assertion—conflating a species

 within the volume of the particle with one on the surface of the particle—reinforces the necessity

 of the Court to expressly construe both Terms 1 (“outer surface”) and 5. See O2 Micro, 521 F.3d

 at 1361.

        The Court should thus construe Term 5 according to its agreed-upon plain and ordinary

 meaning together with DuPont’s construction Term 1 (“outer surface") as “the external silica

 surface of the colloidal silica abrasive particle available for surface treatment and/or abrasive

 contact with a substrate to be polished.”

                  3. CMC’s Reply Position

        There appears to be no unique dispute for this term.             §III.E.2_pg.78 (“undisputed

 meaning”). But DuPont reiterates its “outer surface” construction and misrepresents CMC’s

 position regarding Example 13 (Id.), which is addressed above for Term 1.

                  4. Defendants’ Sur-Reply Position

        Plaintiff does not appear to dispute that its construction would result in a nonsensical

 meaning. See §III.E.2_pg.78; §III.E.3_pg.78.



                                                   78
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 88 of 90 PageID #: 10329




                                                        Respectfully submitted,

      SHAW KELLER LLP                                   POTTER ANDERSON & CORROON LLP

  By: /s/ Andrew E. Russell                         By: /s/ David E. Moore
     John W. Shaw (No. 3362)                            David E. Moore (No. 3983)
     Karen E. Keller (No. 4489)                         Bindu A. Palapura (No. 5370)
     Andrew E. Russell (No. 5382)                       Andrew L. Brown (No. 6766)
     SHAW KELLER LLP                                    Hercules Plaza, 6th Floor
     I.M. Pei Building                                  1313 N. Market Street
     1105 North Market Street, 12th Floor               Wilmington, DE 19801
     Wilmington, DE 19801                               (302) 984-6000
     (302) 298-0700                                     dmoore@potteranderson.com
     jshaw@shawkeller.com                               bpalapura@potteranderson.com
     kkeller@shawkeller.com                             abrown@potteranderson.com
     arussell@shawkeller.com
                                                        Attorneys for Defendants DuPont de
      Attorneys for Plaintiff CMC Materials,            Nemours, Inc., Rohm and Haas
      Inc.                                              Electronics Materials CMP, LLC, Rohm
                                                        and Haas Electronic Materials CMP Asia
                                                        Inc. (d/b/a Rohm and Haas Electronic
                                                        Materials CMP Asia Inc., Taiwan Branch
                                                        (U.S.A.)), Rohm and Haas Electronic
                                                        Materials Asia Pacific Co. Ltd., Rohm and
                                                        Haas Electronic Materials K.K., and
  Dated: January 19, 2024                               Rohm and Haas Electronic Materials LLC




                                               79
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 89 of 90 PageID #: 10330




                                CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2024, this document was served on DuPont-

 Delaware@finnegan.com, IPservice@potteranderson.com and on the persons listed below in the

 manner indicated:

         BY EMAIL
         David E. Moore                             Mareesa A. Frederick
         Bindu A. Palapura                          Eric J. Fues
         POTTER ANDERSON & CORROON, LLP             Anthony A. Hartmann
         Hercules Plaza                             Paul W. Townsend
         1313 N. Market St., 6th Flr.               Kaitlyn S. Pehrson
         P.O. Box 951                               FINNEGAN, HENDERSON, FARABOW,
         Wilmington, DE 19899                        GARRETT & DUNNER, LLP
         (302) 984-6000                             901 New York Avenue, NW
         dmoore@potteranderson.com                  Washington, DC 20001-4413
         bpalapura@potteranderson.com               (202) 408-4000
                                                    mareesa.frederick@finnegan.com
         Charles E. Lipsey                          eric.fues@finnegan.com
         FINNEGAN, HENDERSON, FARABOW,              anthony.hartmann@finnegan.com
          GARRETT & DUNNER, LLP                     paul.townsend@finnegan.com
         1875 Explorer Street, Suite 800            kaitlyn.pehrson@finnegan.com
         Reston, VA 20190
         (571) 203-2700
         charles.lipsey@finnegan.com

         William S. Farmer
         David C. Brownstein
         David M. Goldstein
         FARMER BROWNSTEIN JAEGER
          GOLDSTEIN KLEIN & SIEGEL LLP
         235 Montgomery St., Suite 835
         San Francisco, CA 94104
         wfarmer@fbjgk.com
         dbrownstein@fbjgk.com
         dgoldstein@fbjgk.com




                                               80
Case 1:20-cv-00738-JLH Document 239 Filed 01/31/24 Page 90 of 90 PageID #: 10331




                                        /s/ Andrew E. Russell
                                        John W. Shaw (No. 3362)
                                        Karen E. Keller (No. 4489)
                                        Andrew E. Russell (No. 5382)
                                        Nathan R. Hoeschen (No. 6232)
                                        SHAW KELLER LLP
                                        I.M. Pei Building
                                        1105 North Market Street, 12th Floor
                                        Wilmington, DE 19801
                                        (302) 298-0700
                                        jshaw@shawkeller.com
                                        kkeller@shawkeller.com
                                        arussell@shawkeller.com
                                        nhoeschen@shawkeller.com
                                        Attorneys for Plaintiff




                                       81
